Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 1 of 87 Page ID #11513




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

     JANIAH MONROE, 1
     MARILYN MELENDEZ,
     LYDIA HELÉNA VISION,
     SORA KUYKENDALL, and
     SASHA REED, individually and on
     behalf of a class of similarly situated
     individuals,

                Plaintiffs,

     v.                                            Case No. 3:18-CV-00156-NJR

     STEVE MEEKS,
     MELVIN HINTON, and
     ROB JEFFREYS,

                Defendants.

                              MEMORANDUM AND ORDER

 ROSENSTENGEL, Chief Judge:

          On August 5, 2021, at the conclusion of a four-day bench trial, the undersigned

 issued a verbal ruling for specific preliminary injunctive relief in this case, later set forth

 in the written Order/Preliminary Findings of Fact and Conclusions of Law dated August

 9, 2021. (Doc. 331; Doc. 349, pp. 972-92). 2 That Order noted that the previous (December

 2019) Preliminary Injunction continues in force. (Doc. 212). And, of course, at this time

 the injunctive relief issued in August 2021 remains in effect.



 1
   The named Plaintiffs, and many members of the Plaintiff class, use chosen names reflecting their
 gender identity rather than their given names at birth. Throughout this Order, the Court refers to
 each Plaintiff by their chosen name, which may not match the name in IDOC records.
 2
   See also Preliminary Injunction at Doc. 332 and correction at Doc. 336, separately setting forth
 the additional preliminary injunctive relief pursuant to MillerCoors LLC v. Anheuser-Busch
 Companies, LLC, 940 F.3d 922 (7th Cir. 2019).
                                           Page 1 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 2 of 87 Page ID #11514




        This Memorandum and Order more fully summarizes the August 2021 bench trial

 testimony and the depositions and exhibits submitted at trial, factual findings, and

 conclusions of law supporting the preliminary injunctive relief previously ordered.

 See Docs. 331, 332, and 336. The Court does not repeat all of its findings from August 2021

 because they are incorporated into this Memorandum and Order. The preliminary

 injunctive relief is set forth again below; of course, certain deadlines have already passed.

 The Court will summarize progress made to date toward compliance with the ordered

 injunctive relief, as well as areas where compliance has not yet been achieved. And, as

 discussed below, in light of the parties’ supplemental filings, the Court finds further

 injunctive relief is warranted.

                                       INTRODUCTION

        This litigation was brought on behalf of a class of Plaintiffs, consisting of all

 prisoners in the custody of the Illinois Department of Correction (“IDOC”) who have

 requested evaluation or treatment for gender dysphoria. (Doc. 213). The named Plaintiffs

 are transgender women currently incarcerated in IDOC facilities. The named Defendants

 are, respectively, the IDOC Chief of Health Services, IDOC Chief of Mental Health, and

 the IDOC Director, all sued in their official capacity.

        Plaintiffs assert that Defendants’ policies and practices subject the class to a

 substantial risk of serious harm and injury from inadequate and delayed evaluation and

 treatment of gender dysphoria, in violation of their rights under the Eighth Amendment.

 (Doc. 1, p. 36). They seek injunctive relief to remedy the flaws in IDOC’s treatment of

 transgender inmates. (Doc. 1, pp. 36-38). Problems include: IDOC’s use of a committee of

                                         Page 2 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 3 of 87 Page ID #11515




 unqualified officials to make decisions regarding the medical treatment, security, and

 placement of transgender inmates; widespread delays or denials in evaluating prisoners

 for gender dysphoria and in providing hormone therapy and hormone monitoring;

 failure to consider or provide gender-affirming surgery as part of medically necessary

 treatment for gender dysphoria; failure to accommodate and facilitate social transition

 for individuals with gender dysphoria, such as failing to allow access to gender-affirming

 clothing and grooming items, failing to make individualized housing placement

 decisions, and permitting cross-gender strip searches; and failing to provide access to

 medical and mental health providers competent to treat gender dysphoria.

                                  PROCEDURAL HISTORY

       After a two-day evidentiary hearing completed on August 1, 2019, the Court

 granted preliminary injunctive relief. (Docs. 186, 187, amended on March 4, 2020.

 See Doc. 212). The class, defined as “all prisoners in the custody of IDOC who have

 requested evaluation or treatment for gender dysphoria,” was certified in an order dated

 March 4, 2020. (Doc. 213).

       The initial Preliminary Injunction ordered Defendants to: cease the policy and

 practice of allowing the Transgender Care Review Committee (“TCRC”) to make medical

 decisions regarding gender dysphoria; to develop a policy to ensure that treatment

 decisions for inmates with gender dysphoria are made by medical professionals qualified

 to treat gender dysphoria; to ensure that timely hormone therapy is provided when

 medically necessary, including the administration of hormone dosage adjustments and

 routine monitoring of hormone levels; to cease the policy and practice of depriving

                                       Page 3 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 4 of 87 Page ID #11516




 gender dysphoric prisoners of medically necessary social transition and to develop a

 policy to allow such transition (including individualized placement decisions, avoidance

 of cross-gender strip searches, and access to gender-affirming clothing and grooming

 items); to develop policies and procedures allowing transgender inmates access to

 clinicians who meet the WPATH 3 competency requirements; to allow inmates to obtain

 evaluations for gender dysphoria upon request or clinical indications; and to advise the

 Court regarding steps taken to train all correctional staff on transgender issues.

 (Doc. 212).

        A four-day bench trial was held from August 2 to 5, 2021, and culminated in the

 second order for preliminary injunctive relief. (Docs. 331, 332). 4 On August 18, 2021, the

 Court corrected an error in the Preliminary Injunction. (Doc. 336).

        On August 16, 2021, at the Court’s direction, Plaintiffs submitted a post-trial brief

 outlining the deficiencies in IDOC’s new Administrative Directives of April 1, 2021, and

 requested additions/changes to the injunctive relief. (Doc. 335). Defendants responded

 to that brief on September 7, 2021. (Doc. 346).

        Subsequently, Defendants filed status reports setting forth steps they have taken

 toward compliance with the preliminary injunctive relief ordered by the Court. (60-day

 Status Reports at Doc. 355 and Sealed Doc. 357; Plaintiffs’ Response at Doc. 359); (120-day

 Status Report at Doc. 369).



 3
   World Professional Association for Transgender Health. This organization’s Standards of Care
 for the treatment of gender dysphoria are the benchmark for appropriate care of individuals with
 this diagnosis. (Doc. 186, pp. 3-4, 31).
 4 See also Preliminary Injunction at Doc. 332 and correction at Doc. 336.


                                          Page 4 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 5 of 87 Page ID #11517




                                       FACTUAL BACKGROUND

 Treatment of Gender Dysphoria

        As previously set forth in the first order for preliminary injunctive relief (Doc. 186,

 pp. 3-6), gender dysphoria is a condition in which a person experiences clinically

 significant distress stemming from incongruence between one’s experienced or expressed

 gender and one’s assigned gender. (Doc. 157, p. 95; Doc. 158, p. 14); 5 see also Campbell v.

 Kallas, 936 F.3d 536, 538 (7th Cir. 2019). Gender dysphoria is considered a serious medical

 condition with psychiatric components; it has been removed from the mental and

 behavioral disorders in the World Health Organization Classification of Diseases and the

 Diagnostic and Statistical Manual of Mental Disorders. (Doc. 158, p. 95; Doc. 325, p. 538-

 39; Doc. 353, p. 379).

        The World Professional Association for Transgender Health (“WPATH”) is a

 professional association dedicated to understanding and treating gender dysphoria.

 (Doc. 157, p. 98). WPATH dictates medically accepted Standards of Care for treating

 gender dysphoria. (Id. at 7). According to WPATH, its Standards of Care are “the highest

 standards of health care” for transgender people. (Doc. 123, Ex. 13, p. 8). IDOC purports

 to follow the Standards of Care and has updated its mental health standards operating

 procedure manual to incorporate them. (Doc. 143, Ex. 4, pp. 4, 10). According to WPATH,

 treatment options for gender dysphoria include social role transition, cross-sex hormone

 therapy, psychotherapy, and surgery. (Doc. 158, p. 14).



 5Docs. 157 and 158 are the transcripts of the Preliminary Injunction Evidentiary Hearing on July
 31 and August 1, 2019.
                                          Page 5 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 6 of 87 Page ID #11518




        WPATH lists the minimum qualifications a mental health professional must attain

 in order to assess and treat gender dysphoria. (Id. at 25). Specifically, a person must: hold

 a master’s degree in behavioral science; be familiar with the Diagnostic and Statistical

 Manual of Mental Disorders (“DSM”) or the International Classification of Diseases; have

 documented supervision in psychotherapy; understand the variations of gender

 identities and gender expressions; have continuing education in the assessment and

 treatment of gender dysphoria; have cultural competence; and be aware of the growing

 body of literature in the area. (Doc. 158, pp. 25-26). Individuals who are new to the field

 should work under the supervision of someone with competence who is regarded as an

 expert in gender dysphoria. (Id. at 26).

        Social Role Transition

        Social role transition is living in the gender role congruent to one’s affirmed

 identity. For instance, in the case of a transgender woman, social transition would include

 wearing a female hairstyle, female clothing, and makeup, and using a feminine name,

 female toiletries, and a female bathroom. (Doc. 158, p. 16). In a prison setting, social

 transition would require a transgender woman be afforded the same commissary items

 that female prisoners can access, have means to safe and effective hair removal, be

 referred to by a female name, and be permitted to wear makeup or clothing that affirms

 her gender. (Id. at 17).

        Psychotherapy

        Psychotherapy helps individuals become more resilient, deal with stigma, manage

 family situations, and cope with the social problems that are attendant to gender

                                            Page 6 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 7 of 87 Page ID #11519




 dysphoria. (Doc. 158, p. 14).

        Surgery

        There are different surgical options for transgender individuals, including

 reconstruction of the genitalia, also known as gender-affirming surgery. (Doc. 158, pp. 20,

 90). Reconstruction eliminates the major source of hormones that contribute to and cause

 gender dysphoria. (Id. at 20-21). After reconstruction, the urogenital organs function and

 appear the same as one’s peers. (Id.). Medicare declared gender-affirming surgery to be

 medically necessary and safe in 2014. (Id. at 88). Studies indicate that less than one percent

 of patients who undergo gender-affirming surgery around the world experience regret.

 (Id. at 90). Other studies show suicide and self-harm dramatically decrease following

 reconstruction surgery. (Id.). Other surgical options include removal of the breasts and

 chest reconstruction. (Id. at 21).

        Cross-Sex Hormone Therapy

        Cross-sex hormone therapy involves taking hormones to masculinize or feminize

 the body. (Doc. 158, p. 14). An individual should not begin hormone therapy unless he or

 she has well-documented gender dysphoria above the age of majority and has no

 significant mental health concerns that prevent him or her from giving informed consent.

 (Id. at 19). Hormone therapy is often a necessary component of treating gender dysphoria.

 (Doc. 157, p. 156).

        The Endocrine Society Guidelines are internationally recognized baseline

 guidance for the adequate treatment of gender dysphoria. (Doc. 157, p. 91). Hormone

 therapy that falls below the Guidelines is considered less-than-adequate treatment.

                                         Page 7 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 8 of 87 Page ID #11520




 (Doc. 157, pp. 98-99). The Guidelines state that once a person begins hormone therapy,

 they should undergo baseline lab testing to monitor hormone levels. (Doc. 157, p. 102).

 Hormone levels need to be checked every two to three months for the first year of

 treatment, and dosages should be adjusted accordingly until a target hormone level is

 achieved. (Id.). After this period, hormone levels should be checked once or twice each

 year. (Id.). An individual who suddenly stops taking hormones is at risk for serious

 medical or mental health complications. (Id. at 103).

        Spironolactone and Estradiol are the two main agents involved in hormone

 therapy for transgender women. (Id. at 103-04). Spironolactone is a testosterone blocker,

 and Estradiol is estrogen. (Id. at 104, 109). Estradiol is administered at a starting dose of

 two milligrams and titrated to four or six milligrams. (Id. at 104). Four milligrams

 typically results in target concentrations. (Id. at 105). For transgender men, hormone

 treatment involves testosterone injections. (Id. at 106).

        Spironolactone is a diuretic that can elevate potassium levels and cause heart

 arrhythmias, kidney failure, and death. (Doc. 157, p. 107). Estradiol enlarges the pituitary

 gland, which can cause blindness if the gland gets too big. (Id. at 107-08). Thus,

 monitoring hormone levels, as well as levels of potassium, creatinine (a kidney function

 marker), and prolactin, is important for efficacy and safety. (Id. at 107-08).

        There are other forms of estrogen besides Estradiol, but the Endocrine Society

 Guidelines do not recommend them because they are very difficult to monitor. (Id. at 109-

 110). For example, Premarin and Menest, which are conjugated estrogens, are not

 naturally produced by the body; they come from pregnant horse urine. (Doc. 157, p. 110).

                                         Page 8 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 9 of 87 Page ID #11521




          Transgender individuals may receive hormone therapy but still experience

 symptoms of gender dysphoria because their body does not match their gender identity.

 (Doc. 157, p. 109). Hormone therapy does not shrink genitals or make them disappear.

 (Id.).

 IDOC’s Policies on Transgender Inmates

          At the time of the July-August 2019 evidentiary hearing, IDOC’s policies and

 procedures for evaluating and treating inmates with gender dysphoria were set forth in

 Administrative Directive 04.03.104, “Evaluation of Offenders with Gender Identity

 Disorders” (“the GID Directive”), effective May 1, 2013. (Doc. 186, pp. 7-8); (Doc. 1, p. 17;

 Doc. 123-10; Doc. 143, p. 3). The GID Directive created a Gender Identity Disorder

 Committee (“GIDC”) to review transgender inmates’ “placements, security concerns and

 overall    health-related   treatment     plans…and      to   oversee    the   gender     related

 accommodation needs of these offenders.” (Doc. 123-10, pp. 3-4; Doc. 348, p. 303). But

 Defendants represented that as of June 2019, the GID Directive was “under revision,” and

 IDOC officials were following the revised draft policy even though it had not been

 officially implemented. (Doc. 143, p. 3; Doc. 143-2).

          The 2019 revised draft of Administrative Directive 04.03.104 replaced the GIDC

 with the Transgender Care Review Committee (“TCRC”), 6 tasked with “reviewing

 placements, security concerns, and overall health related treatment plans of transgender



 6
   The TCRC is frequently referred to as the “Transgender Committee” in the transcripts and other
 documents of record. The Court will refer to this committee by its acronym in order to distinguish
 it from the differently-named committees which replaced it under the newer Administrative
 Directive adopted in April 2021.
                                           Page 9 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 10 of 87 Page ID #11522




 offenders and offenders diagnosed with Gender Dysphoria, and to oversee [their] gender

 related accommodations[.]” (Doc. 143-2, p. 3). The TCRC had five voting members:

 IDOC’s Chief of Psychiatry (Dr. William Puga, TCRC Chair), Chief of Health Services

 (Dr. Steve Meeks), Chief of Mental Health Services (Dr. Melvin Hinton), Chief of

 Operations (Mr. Eilers), and Transfer Coordinator (Ms. Wortley) (Doc. 158, pp. 102, 146-

 52). None of these individuals met WPATH’s minimum qualifications for treating

 transgender people; two had no medical training (Doc. 158, pp. 146-51).

        The TCRC met once each month to review inmates’ treatment and care, reviewing

 about 20 cases at each meeting, including treatment plans and inmate requests for surgery

 and/or transfers. (Id. at 105; Doc. 348, p. 322-23). IDOC’s therapists would present issues

 to the TCRC on behalf of the inmate. (Id. at 111-13). The TCRC reviewed information

 about each inmate, including the inmate’s treatment plan, but did not review an inmate’s

 complete medical records. (Id. at 113, 163). The TCRC generally allotted six minutes to

 hear an inmate’s case. (Id. at 162). The TCRC decided issues based on a majority vote of

 its five members, but nonmedical members did not vote on medical issues. (Id. at 157,

 187). After the TCRC rendered a decision, the inmate’s therapist or physician was

 responsible for carrying out the plan. (Id. at 113). There was no formal appeals process

 for challenging the TCRC’s decisions. (Id. at 160-61).

        Following the December 2019 Preliminary Injunction, on April 1, 2021, IDOC

 adopted two new Administrative Directives: (1) Administrative Directive (“AD”)

 04.03.104, entitled “Evaluation, Treatment and Correctional Management of Transgender

 Offenders” (Tr. Ex. 600), and AD 05.01.113 “Searches of Offenders.” (Tr. Ex. 601).

                                        Page 10 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 11 of 87 Page ID #11523




 (Doc. 353, p. 502). IDOC began to implement changes under these policies governing care

 of transgender inmates. (Doc. 348, pp. 304-05; testimony of Dr. Melvin Hinton). The

 former TCRC was broken into two separate committees, the Transgender Health and

 Wellness Committee (“THAWC” or “THAW Committee”) and the Transgender

 Administrative Committee (“TAC”). (Doc. 348, pp. 304-05). Each committee meets

 monthly. All requests for gender-affirming surgery must go to the THAWC, which

 decides whether to approve surgery and addresses other medical and mental health care

 concerns. (Id. at 314-15, 352). The TAC focuses on safety and security matters, handling

 nonmedical, non-mental health related issues including inmate transfer requests (such as

 when a transgender woman seeks a transfer from a men’s to a women’s facility) and what

 gender-affirming commissary items will be available to transgender inmates. (Id. at 352-

 53).

        Although the duties are divided in an attempt to separate medical and mental

 health issues from security considerations, the identity of members on each committee is

 similar to those previously serving on the TCRC. Dr. Puga, Dr. Hinton, Dr. Conway

 (Deputy Chief of Health Services), and Dr. Shane Reister (Southern Regional Psychologist

 Administrator) all served on the former TCRC and now serve on the THAW Committee.

 Dr. Puga, Dr. Conway, and Dr. Reister also serve on the TAC along with other officials

 including the chief of operations’ designee, chief of women’s services, and transfer

 coordinator. (Doc. 354, pp. 787-88, 822-25). Administrative Directive 05.01.113 sets forth

 revised procedures governing searches of transgender prisoners.




                                       Page 11 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 12 of 87 Page ID #11524




                                     TRIAL TESTIMONY

 Plaintiffs’ Evidence

        Marilyn Melendez

        Melendez is a 27-year-old IDOC inmate housed at Pontiac Correctional Center

 (“Pontiac”) at the time of her testimony on August 2, 2021. (Doc. 347, p. 32, 46). She was

 also at Pontiac, a male facility, when she testified at the evidentiary hearing on July 31,

 2019. (Doc. 186, p. 19; Doc. 157, pp. 13-16, 40). She explained she was assigned male at

 birth but identified at a young age as female. Id. Her mother started her on hormones,

 testosterone blockers, and estrogen at age eight or nine, but at age 13—after starting to

 develop breasts—she was unable to continue that treatment due to cost. Melendez then

 went through male puberty, growing taller, developing muscles and a deep voice, and

 began experiencing erections. Id. She “felt like a monster,” endured taunting from peers,

 and got into fights and drugs, which led to her incarceration in 2012. (Doc. 186, p. 19;

 Doc. 157, p. 16). Upon entering prison, Melendez told prison officials that she was

 transgender, but she was not evaluated for gender dysphoria or hormone therapy for

 three years. (Doc. 186, p. 19; Doc. 157, pp. 16-20; Doc. 347, pp. 32-33, 67). In March 2015

 she was diagnosed with gender dysphoria, but the TCRC did not initially approve her

 for hormone therapy; she started that treatment in July or August 2015. (Doc. 186, p. 20;

 Doc. 157, pp. 21-22).

        Melendez testified in 2019 that her hormone dosage seemed inadequate, as she

 was still growing excess facial and body hair and was experiencing frequent erections.

 (Doc. 186, p. 20; Doc. 157, pp. 23-25). She had requested gender-affirming surgery but

                                       Page 12 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 13 of 87 Page ID #11525




 was told IDOC would not pay for it. (Doc. 186, p. 20; Doc. 157, p. 26). Her request for hair

 removal was denied, and she was unable to access commissary products available to

 females. She was not allowed to have a bra until two years after requesting one and has

 been unable to obtain other gender-affirming clothing or undergarments. (Doc. 186, p. 21;

 Doc. 157, pp. 29-30, 32-36, 48). Melendez has been strip-searched by male correctional

 officers in front of male inmates. IDOC staff have laughed at her, verbally harassed and

 groped her, and have frequently misgendered her, including calling her “it” and “he-

 she.” (Doc. 186, p. 21; Doc. 157, pp. 36-38, 52). These conditions have caused Melendez

 severe psychological distress including suicidal ideation, as well as physical discomfort.

 (Doc. 186, pp. 21-22; Doc. 157, pp. 27, 33-34, 38-39, 48).

        On August 2, 2021, Melendez testified that the care she is presently receiving is

 worse than it was in July 2019. (Doc. 347, p. 33). Her hormone therapy has been

 interrupted at least twice for lengthy periods. In February 2020, her medication was

 interrupted for a month and a half when she was placed in segregation, despite her

 submitting several letters and grievances seeking to have her prescriptions restored.

 (Doc. 347, pp. 33-41, 79; Plaintiffs’ Exhibits 470, 471, 472, 473, 475). In August 2020 her

 refill of hormones was delayed for three weeks and she was completely without

 medication for a week. (Doc. 347, pp. 39-40, 76-78). There have been other delays in timely

 providing her with refills so that the medications may be properly taken together. (Id. at

 79-80). She had been switched from Premarin to Estradiol and then back to Premarin

 between July and October 2019. (Id. at 41-42). Her current therapy consists of 5 mg

 Estradiol and 200 mg Spironolactone daily, but she still has excessive hair growth and

                                         Page 13 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 14 of 87 Page ID #11526




 frequent erections. (Id. at 42-43). Her treating physician, Dr. Tilden, has not looked into

 why Melendez continues to have these issues, has not altered her dosages, and will not

 disclose her testosterone or estrogen levels. (Id. at 44-46, 80-81). She has had blood work

 about four times since July 2019 but is unsure whether she was tested for hormone levels.

 (Id. at pp. 45, 81). She has not succeeded in requesting copies of her medical records due

 to COVID-19 related law library restrictions. (Id. at 86-87).

        Melendez had requested gender-affirming surgery as of July 2019 but was not

 evaluated for it. (Id. at pp. 46-47). She asked her mental health professional (Ms. Yuhas)

 to pursue a surgery evaluation and received a letter on October 14, 2020, informing her

 that the TCRC would consider her surgery request on January 5, 2021. (Doc. 347, pp. 48-

 49; Pl. Ex. 477). In March 2021, Ms. Yuhas told Melendez her surgery was approved and

 she was on the waiting list, but nothing further had happened as of August 2, 2021, and

 she had not been shown any paperwork to confirm the approval or describe what type

 of surgery was approved. (Doc. 347, pp. 50, 88-91; Def. Ex. 623).

        Melendez continues to experience humiliation and disrespect as a result of being

 housed with male inmates. (Doc. 347, pp. 52-53). Before coming to court for trial, she was

 strip searched by a female officer for the first time, but only after she showed this Court’s

 Order to the lieutenants in charge. (Id. at 53, 94). A few weeks earlier Melendez requested

 to be searched by a female officer but was threatened with mace and a beating if she did

 not submit to a strip search by a male officer during a shakedown. (Id. at 54). All other

 strip searches of Melendez at Pontiac since the Preliminary Injunction in December 2019

 had been performed by male officers, despite her attempts to inform staff of the

                                        Page 14 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 15 of 87 Page ID #11527




 Preliminary Injunction. (Doc. 347, pp. 54-55, 92-93). In July 2021, Melendez spoke with

 Warden Leonta Jackson during his tour of the gallery with other officials, telling him

 about the misgendering and strip searches, and she showed him the Preliminary

 Injunction Order. Jackson grabbed Melendez’s copy of the Order, threw it off the gallery,

 and said that she was a man, she is in a male institution, she has a penis, and she will be

 searched by men. (Id. at 55, 69-70).

        Melendez testified at trial that the mistreatment and harassment she experiences

 from some IDOC officers is worse than in July 2019. (Id. at 56). The officers who try to be

 respectful and use her proper pronouns are ridiculed by other officers. Certain staff make

 a point of calling Melendez derogatory names and write her a disciplinary ticket if she

 says anything back. She is regularly misgendered both verbally and in documents,

 including those written by medical and mental health staff. (Id. at 56-57, 101-02).

        As of July 2019, Melendez had not requested to transfer to a women’s facility

 because she had heard of problems experienced by other transgender women there. By

 the time of trial, she had changed her mind due to the worsening treatment by Pontiac

 staff and the lack of consequences for the harassers. (Doc. 347, pp. 57-58). Melendez

 requested a transfer, but in December 2020 was told that before it could be considered,

 she would have to sign out of protective custody and go to general population, where

 she would risk physical assault. (Id. at 58-60, 99-100; Pl. Ex. 476).

        The commissary made makeup items available for purchase in March 2021, well

 over a year after the Court’s initial Preliminary Injunction. As of the time of trial,

 however, female undergarments, shoes, and hair products were not available. (Id. at 60-

                                         Page 15 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 16 of 87 Page ID #11528




 61, 94-98). New male undergarments are given to inmates every six months, but

 Melendez has not received a new bra since 2018. (Doc. 347, p. 62).

        Melendez initially hoped that things would improve after the December 2019

 Preliminary Injunction but became increasingly exhausted and hopeless when conditions

 instead became worse. (Id. at 62-63). She attempted suicide in August 2020. Her current

 mental health professional, Joe Ramos, does not want to talk about her anxiety or

 depression related to her gender dysphoria and tells her it is not his field or expertise.

 Every time Melendez sees Ramos he asks her about her religious beliefs; for example, he

 asked in June 2021 how God would feel about her “desecrating the temple” of her body

 by transitioning. (Id. at pp. 63-65). She has attended the “GIFT” program, a group for

 transgender prisoners that started in 2020, but states it was not therapeutic. (Id. at pp. 82-

 84).

        Overall, Melendez’s care and treatment in prison has not meaningfully changed

 since the December 2019 injunction; the only difference she has observed is that makeup

 was added to the commissary. (Id. at pp. 67-68).

        Melendez had not heard of IDOC’s new Administrative Directive, the

 Transgender Administrative Committee (“TAC”) or the Transgender Health and

 Wellness Committee (“THAWC”) and would not know how to contact those committees

 in order to request treatment. (Doc. 347, pp. 65-66, 91).

        Sora Kuykendall

        Kuykendall, age 29, did not testify in the 2019 evidentiary hearing that led to the

 first Preliminary Injunction (Doc. 212) but submitted a sworn declaration setting forth her

                                         Page 16 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 17 of 87 Page ID #11529




 experience during her incarceration. (Doc. 123-6; Doc. 186, pp. 25-26). At the time of her

 trial testimony in August 2021, Kuykendall had been housed in Menard Correctional

 Center (“Menard”), a male prison, since entering IDOC custody in November 2014.

 (Doc. 347, pp. 104-05).

        Kuykendall first identified as a girl at about age five but was never evaluated for

 gender dysphoria because her family did not support her gender identity. (Doc. 123-6;

 Doc. 186, p. 25; Doc. 347, pp. 105-07). She became extremely depressed when she went

 through puberty, acted out, cut herself, and attempted suicide. (Doc. 123-6; Doc. 186,

 p. 25; Doc. 347, p. 106).

        Kuykendall asked for hormone therapy soon after her placement at Menard in

 November 2014. (Doc. 123-6; Doc. 186, p. 25; Doc. 347, pp. 107-08, 143). IDOC officials

 denied her hormone therapy request and refused to evaluate her for gender dysphoria.

 Only after she attempted to castrate herself was Kuykendall evaluated and diagnosed

 with gender dysphoria in February 2015, and she began taking hormones (Spironolactone

 and Menest) that month. (Doc. 123-6; Doc. 186, p. 25; Doc. 347, pp. 108-10, 144-46). The

 dosage for her testosterone blocker was too low, however, and she experienced more

 facial hair growth; nothing was done despite her many requests over seven months for a

 dosage adjustment. (Doc. 347, pp. 110, 147). Her estrogen was later changed to Premarin.

 Id. She has not received regular monitoring for blood hormone levels. (Doc. 126, p. 2;

 Doc. 186, p. 25; Doc. 347, p. 110). In 2020, she was still receiving conjugated estrogen

 rather than the recommended Estradiol and her requests to switch medications were

 denied until after her August 2020 deposition for this case. (Doc. 347, pp. 111-14, 150-51).

                                        Page 17 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 18 of 87 Page ID #11530




 At some time in 2020 she had blood work and was told her estrogen level was fine at 33,

 but she believes the correct level should be between 150 to 200. 7 (Doc. 347, pp. 114-15).

 She was given a breast exam while a male officer was in the room, in disregard of her

 privacy concerns, and was threatened with having her hormones discontinued if she

 refused the exam. (Id. at 115-16, 153-54). Kuykendall is currently taking 8 mg of Estradiol

 and 200 mg of Spironolactone per day but does not know the results of her blood work

 in 2021. (Id. at 123-24, 151-52). Her mood improved after her Estradiol dosage was

 increased in the fall of 2020. (Id. at 168).

        As of July 2019, Kuykendall’s repeated requests since 2015 for gender-affirming

 surgery and hair removal had been denied without any evaluation. (Doc. 126, p. 3;

 Doc. 186, p. 25; Doc. 347, pp. 126-27). In 2021, she was told she would be evaluated for

 surgery in January, but it was rescheduled to July 2021 and then put off again. (Doc. 347,

 pp. 127-29, 159-64). She has not met with anybody on the THAW Committee and has not

 received any response. (Id. at 129-31). If she does not receive gender-affirming surgery,

 she will almost certainly kill herself. (Id. at 132).

        Kuykendall was given a bra 10 months after starting hormone therapy after

 multiple requests. (Doc. 347, pp. 111, 148-50). When she went to commissary in July 2021

 there were no female items available; she has no underwear. (Id. at 124-25, 140, 164-65).

 She also has no hair removal products other than an electric razor, and she uses nail

 clippers to pull hair out of her face. (Id. at 126).


 7
  Testimony by Plaintiffs’ expert Dr. Vin Tangpricha, both in 2019 and 2021, established that under
 the Endocrine Society Guidelines, the target blood estrogen/estradiol level for a transgender
 female is 100-200 picograms per milliliter. (Doc. 157, pp. 121-22; Doc. 353, p. 384).
                                           Page 18 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 19 of 87 Page ID #11531




        Kuykendall has been subjected to strip searches by male officers in the presence of

 male inmates, causing her to feel violated and unsafe, and triggering crying and shaking.

 (Doc. 126, pp. 3-4; Doc. 186, p. 26; Doc. 347, pp. 111, 117). In December 2019, when faced

 with a strip search by male officers before visiting her mother, she tried to refuse the visit

 but was told she would be searched anyway and sent to segregation. (Doc. 347, pp. 117-

 18). Since then, she has refused visits in order to avoid being strip searched. (Id. at 118,

 154-55). Her March 2017 grievance asking to be strip searched by a female officer was

 unanswered. (Doc. 126, pp. 3-4; Doc. 186, p. 26).

        Kuykendall continues to experience depression, anxiety, and daily thoughts of

 self-harm related to her gender dysphoria, constant misgendering, and verbal

 harassment. (Doc. 126, pp. 3-4; Doc. 186, p. 26; Doc. 347, pp. 118-19, 137-38). In January

 2021, when she disclosed her suicidal thoughts and her planned method to a mental

 health professional, she was placed on crisis watch despite her protests that her suicidal

 thoughts were nothing new and she did not feel that she would go through with it.

 (Doc. 347, pp. 119-20, 157-59). The crisis watch cell was dirty and contaminated with feces

 on the wall; she was denied soap and eating utensils and had only a smock to wear that

 did not cover her breasts. (Doc. 347, pp. 119-22, 156-57). Because of the noise and these

 conditions, she was unable to use her primary coping mechanism of meditation. She was

 not given her hormones for the six days she was on crisis watch and was unable to shave

 or use nail clippers to remove her facial hair. This experience left her in a worse mental

 state than when she began crisis watch. (Id. at 119-22). She is cautious about what she says

 to mental health providers about her suicidal thoughts because of her fear of being

                                         Page 19 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 20 of 87 Page ID #11532




 returned to crisis watch. (Doc. 347, pp. 170-71).

        Kuykendall would like to be housed in a female facility to escape the sexual

 harassment, groping, beatings, hostility, and threats to her safety in Menard. (Doc. 347,

 pp. 132-35, 139, 172-75). Male prisoners have exposed themselves to her on multiple

 occasions. Her transfer requests have not been granted. She had not used the shower at

 Menard since 2014 (with one exception in 2015 while she was in the medical unit),

 because showers are open to view by male inmates and staff; instead, she washes her

 body and hair in her cell. (Id. at 136, 170-71).

        Since filing this lawsuit, Kuykendall’s gender dysphoria symptoms have

 worsened, and her care and treatment has not substantially improved. (Id. at 140-42).

        Xavier Ball

        Xavier Ball, age 30, has been incarcerated since 2010, currently at the Illinois River

 Correctional Center (“IRCC”). (Doc. 347, pp. 176, 191). She realized she was different from

 other boys at age 13. She first heard the term gender dysphoria after arriving at

 Pinckneyville Correctional Center (“Pinckneyville”) in March 2016. About a year later,

 she started attending a support group for transgender inmates. (Doc. 347, pp. 177-78).

        Ball first requested hormone therapy in 2016 at Pinckneyville, but her repeated

 requests were denied without explanation. (Id. at 178-80). She was transferred to Danville

 Correctional Center in early 2018 and was able to start hormone therapy in January 2019.

 (Id. at 180-81, 192). She did not, however, stay on hormones for long (six weeks to three

 or four months). (Id. at 181-84, 193). In February 2019, Ball was transferred to IRCC and

 made the decision to stop hormone therapy while she became accustomed to the new

                                         Page 20 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 21 of 87 Page ID #11533




 prison, out of concerns for her safety and social isolation. (Doc. 347, pp. 181-84). In late

 2019 or early 2020, she requested to start hormone therapy again but was initially denied

 because she had been on suicide watch and was seen as unstable. (Id. at 184-88, 194-95).

 Ball made six successive requests for hormone therapy and was denied each time with

 no explanation. (Id. at 188-89, 196-97). During that time, she was stressed, depressed,

 angry, sad, and frustrated to the extent she felt like giving up her quest for treatment. She

 was finally allowed to resume hormone therapy in late June 2021. (Id. at 189-90).

        Like Melendez, Ball had not heard of the changes in the committee structures (TAC

 and THAWC) under the revised Administrative Directives and would not know how to

 contact those committees regarding transgender issues. (Id. at 190-91).

        London Fulton

        London Fulton has been in IDOC custody since May 2019 and at the time of trial

 was incarcerated at Pontiac. (Doc 347, pp. 198, 204). Assigned male at birth, she realized

 at age seven that she didn’t feel like a boy. She was first diagnosed with gender dysphoria

 in January 2012, at age 17, while incarcerated in the Cook County Jail. She was able to

 receive hormone therapy in Cook County at that time. (Doc 347, pp. 199-201). Fulton was

 also on hormone therapy in IDOC facilities in 2014 and 2015, and again at the Cook

 County Jail from 2017 to 2019 before her current IDOC custody. (Id. at 202-04).

        When Fulton was transferred from Cook County to Stateville in May 2019, she was

 told she could not restart hormone therapy until after she arrived at her IDOC parent

 facility and was re-diagnosed with gender dysphoria. (Id. at 205). But Stateville staff

 continued the medication she had taken at Cook County for depression (Remeron) about

                                        Page 21 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 22 of 87 Page ID #11534




 a week after her arrival. (Doc. 347, pp. 204-05). She was devastated and traumatized from

 losing the hormone therapy she had been on consistently for two years, and her anxiety

 and depression intensified. (Id. at 206-07). At the time of Fulton’s testimony in August

 2021, 26 months later, she had still not received the hormone treatment she requested

 numerous times during her IDOC custody. (Id. at 207-08, 222, 224-25).

        At her first institution, Menard, Fulton had to wait five months for a response to

 her medication request and did not see the doctor who could prescribe hormones until

 May 2020, nearly a year after her arrival. (Id. at 208-09). Dr. Siddiqui questioned Fulton’s

 decision to go on hormones, tried to persuade her not to take them, and did not listen to

 her. (Id. at 209-10, 232). The appointment was so distressing that Fulton refused to get the

 hormone prescription even though she wanted it, because if she took it, she would have

 to see Dr. Siddiqui going forward. (Id. at 211). A mental health provider arranged for

 Fulton to see a nurse practitioner instead, but in June 2020 she learned her prolactin level

 was elevated, which prevented her from getting the hormone prescription. (Id. at 212-13).

 She went off her other medications, but her prolactin level remained too high. About

 seven months later, in January 2021, she was sent to get an MRI to rule out a tumor as the

 cause of the high prolactin. The MRI came back negative, but Fulton still was not restarted

 on hormones. (Doc 347, pp. 213-14, 227). She contests the accuracy of a March 2021 IDOC

 medical record that stated she did not want to get back on hormones at that time. (Id. at

 228-32; Def. Ex. 670). She filed several grievances at Menard regarding the lack of

 transgender treatment but got no response. (Doc. 347, pp. 215-16).

        Fulton was transferred to Pontiac on May 25, 2021. (Doc. 347, p. 216). Prior to her

                                        Page 22 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 23 of 87 Page ID #11535




 transfer, Fulton had to undergo a strip search at Menard by male guards; when she

 protested the attempt to conduct the search in full view of male inmates, a lieutenant had

 her searched behind a barrier wall. (Id. at 217-18). On the day Fulton was taken to this

 Court from Pontiac for the trial, she was strip searched by male officers after being told

 she didn’t have a court order to be strip searched by a female, despite the fact that Marilyn

 Melendez was allowed to be searched by a female guard on the same day to go on the

 same transport. (Id. at 218-19).

        After two months at Pontiac, Fulton still had not seen a professional about

 receiving treatment for her gender dysphoria and had not been able to restart hormone

 therapy. (Id. at 219-21). Nor had she been able to access any female items from the

 commissary (makeup and sports bras) because she did not yet have a permit. (Id. at 221-

 22, 227-28). Her inability to get hormone treatment has added to her depression. (Id. at

 223). The single time she discussed possible gender-affirming surgery with a professional

 (at Menard), Fulton was told a prerequisite to being considered was that she had to be on

 hormones for a certain period. (Id. at 223-24). The same condition applied to being

 considered for a transfer to a female prison; thus, Fulton has been blocked from these

 potential accommodations. (Doc. 347, pp. 223-24).

        Janiah Monroe

        Janiah Monroe testified at the July 2019 evidentiary hearing. (Doc. 157, pp. 184-

 222; Doc. 186, pp. 16-18). She has been in IDOC custody since 2008. At the time of the 2021

 trial, she was at Logan Correctional Center (“Logan”), a female prison, where she had

 been for about two years (she was housed there at the time of the July 2019 hearing).

                                        Page 23 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 24 of 87 Page ID #11536




 (Doc. 157, p. 184; Doc. 348, pp. 271-72, 283). Since her transfer to Logan, Monroe spent

 about a month in the Elgin mental health facility after a suicide attempt. (Doc. 348,

 pp. 272-73).

           Monroe was assigned male at birth but knew from the age of three that she was a

 female. She played with her girl cousins rather than with her brothers and wore female

 clothing when she could get away with it. Her family was very religious and

 disapproving of homosexuals, and her father beat her when she would exhibit feminine

 characteristics. (Doc. 157, pp. 185-87; Doc. 186, pp. 16-17).

           Monroe began taking hormones and birth control pills obtained from her friends

 at about age eleven. (Doc. 157, p. 188; Doc. 186, p. 17). She felt “horrible” being perceived

 as a male when she identified as a woman, and she began to hate herself, her body, and

 the way she sounded and looked. (Doc. 157, pp. 188-89; Doc. 186, p. 17). This distress led

 her to attempt suicide while she still lived with her family. (Doc. 157, pp. 189-90; Doc. 186,

 p. 17).

           Monroe entered IDOC custody in 2008. At Stateville, her first institution, she

 identified as transgender and requested gender reassignment surgery, hormone therapy,

 and electrolysis. (Doc. 157, pp. 191-92; Doc. 186, p. 17). She also disclosed at intake that

 she had been experiencing suicidal thoughts. She was told by mental health officials that

 IDOC would not provide hormone therapy unless she had legally been on this treatment

 before incarceration. (Doc. 157, pp. 192-93; Doc. 186, p. 17). Her inability to obtain any

 treatment for her gender dysphoria was “[e]xcruciatingly painful” for her, leading her to

 attempt self-castration six times and other self-harm. She chewed through her arteries in

                                         Page 24 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 25 of 87 Page ID #11537




 both arms, chewed out a vein, carved a swastika in her wrist to show her hate for her

 body, and hung herself. (Doc. 157, pp. 193, 200-02; Doc. 186, p. 17).

        IDOC eventually diagnosed Monroe with gender dysphoria in 2012, and she

 began hormone therapy in April that year. (Doc. 157, pp. 199-200: Doc. 186, p. 18). The

 hormone therapy helped her to some extent, but she described it in July 2019 as “putting

 a Band-Aid on a wound that needs stitches,” and she believed her dosages were

 inadequate because her hormone levels would fluctuate up and down. (Doc. 157, pp. 202-

 03; Doc. 186, p. 18). Her dosages were adjusted after her transfer to Logan, and she was

 on the maximum dosage of Spironolactone (100 mg twice a day) as of July 2019. (Doc. 157,

 pp. 204-05). But she has continued to cut her genitals, hoping they would become infected

 so IDOC would be forced to remove them. Id. She also has attempted suicide

 approximately four times because her needs for surgery and social transition have been

 overlooked. (Doc. 348, pp. 273-74). As of July 2019, she had never been evaluated for

 gender-affirming surgery despite making numerous requests and filing at least

 10 grievances. (Doc. 157, pp. 213-14; Doc. 186, p. 18).

        Monroe testified in August 2021 that she was told by Dr. Conway and Dr. Horn in

 June 2021 that she was medically approved for the gender-confirmation surgery she had

 first requested in 2008. She understood the next steps to be a meeting with Dr. Puga and

 Dr. Reister for their approval, followed by evaluation by the surgeon. (Doc. 348, pp. 268-

 71). Surgery would eliminate officials’ fear that Monroe could get another Logan inmate

 pregnant and, most importantly, would help her mind and body align with each other so

 she could exist in peace. (Id. at 275). Based on Monroe’s past experience of promised

                                        Page 25 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 26 of 87 Page ID #11538




 changes not being implemented by IDOC, she does not trust that she will be able to have

 gender-affirming surgery. (Doc. 348 at p. 289-90).

        Monroe was housed in various men’s prisons for the first decade of her

 incarceration, where she was subjected to verbal harassment and multiple physical and

 sexual assaults at the hands of other inmates and IDOC officers. (Doc. 157, pp. 193-96;

 Doc. 186, p. 17). When she stood up for herself in the face of abuse, some officers would

 purposely place her in a cell with a known violent inmate, laugh at her when she called

 for help, and then not punish the other inmate for the assault. (Doc. 157, p. 197; Doc. 186,

 p. 17). She was often punished when she defended herself against assaults; her grievances

 over mistreatment were denied or ignored. (Doc. 157, pp. 197-98; Doc. 186, p. 17).

        Monroe requested a transfer to a female facility in approximately 2010 or 2011 but

 was not transferred to Logan until after she filed a lawsuit over a sexual assault by a male

 officer, which led to another suicide attempt. (Doc. 157, pp. 194-96). At Logan, she has

 access to the female undergarments, grooming items, and makeup available to other

 women prisoners, in contrast to having only a bra while in the male prisons. (Doc. 157,

 p. 204; Doc. 186, p. 18). She is now searched by female officers; at the male prisons she

 was always searched by male officers who often commented inappropriately on her body

 during a strip search or groped her during pat downs. Id. As of July 2019, however, she

 was still misgendered and disrespected by some Logan staff, especially when it first

 became known she is transgender. (Doc. 157, pp. 207-10). By August 2021, the

 misgendering had diminished but still occurred; Monroe believes prison staff who

 misgender her now are doing so deliberately. (Doc. 348, pp. 287-88).

                                        Page 26 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 27 of 87 Page ID #11539




          Monroe has had complaints filed against her by other inmates at Logan. (Doc. 157,

 pp. 210-12, 221). One was by a woman with whom she had a consensual sexual

 relationship. IDOC determined the allegation of sexual assault was false. (Doc. 348,

 p. 292). Monroe believed the accuser was jealous of her friendship with another woman

 and testified that Logan inmates often file false PREA 8 complaints. (Id. at 293-94). Monroe

 feels that because she is transgender, she has been punished more harshly than female

 prisoners for the same sexual misconduct charges. (Id. at 276-77). She has had only one

 disciplinary ticket for fighting during her time at Logan, when another inmate spit in

 Monroe’s face and she pushed her back. (Id. at 283-84, 294-95). She has had about 15

 tickets for “intimidation and threats.” (Id. at 292-93).

          Monroe testified in July 2019 that during her entire time at Logan, her penis has

 not been fully functioning. (Doc. 157, p. 222; Doc. 186, p. 18). Even though she is in a

 women’s prison, she has only been allowed to be in general population “like everybody

 else” for short durations and is given hoop after hoop to jump through to have restrictions

 lifted. (Doc. 348, pp. 275, 292). In August 2021, Monroe was in restricted housing where

 she was unable to socialize or be outside her cell for more than one hour per day. (Id. at

 278-79). Other inmates in such placement would get moved out after 30 days, but Monroe

 at one point had been kept there for eight or nine months without another incident and

 still was not moved. Id. Her extended time in near isolation led to a suicide attempt. (Id.

 at 280).

          There are currently four other transgender women at Logan; two are housed in a


 8
     Prison Rape Elimination Act.
                                         Page 27 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 28 of 87 Page ID #11540




 unit designated for transgender people and those who want to be housed with them.

 (Doc. 348, pp. 285-86, 300). Monroe would like to be housed there but has not been given

 the opportunity. (Id. at 285-86, 298-300). As of August 2021, she was no more socially

 integrated than she had been in July 2019. (Id. at 289).

        Dr. Melvin Hinton (Party Defendant, Called by Plaintiffs as Adverse Witness)

        Dr. Hinton is IDOC’s Chief of Mental Health, a position he has held since 2012.

 (Doc. 348, pp. 302-03). He is responsible for overseeing mental health staff for all IDOC

 facilities. He has served on the various committees on transgender care since their

 inception in 2014. (Id. at 303). He is a voting member of the THAW Committee. (Id. at 303-

 04, 309). The THAWC determines whether to approve transgender prisoners’ requests

 for surgery. (Id. at 314). He is aware that if gender dysphoria is not adequately treated, it

 can lead to severe mental decompensation and increased risk of suicide. He also is aware

 of transgender prisoners in IDOC who have attempted suicide and self-harm. (Id. at 306-

 08). He read the transcript from the August 2019 evidentiary hearing (as ordered), in

 which class members testified that they would kill themselves if they didn’t get gender-

 affirming surgery, and acknowledged that two years later, none of the individuals had

 yet received such surgery although one person’s process of evaluation was underway.

 (Doc. 348, pp. 311-14).

        Dr. Hinton acknowledged that between December 2019 and June 2021, thousands

 of prisoners were transferred between different IDOC facilities; hundreds of transfers

 took place each month between August 2020 and February 2021, and the monthly

 transfers between March 2021 and May 2021 numbered at least 1,000. (Id. at 316-21;

                                        Page 28 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 29 of 87 Page ID #11541




 Exhibits 507, 508). According to Defendants’ pretrial brief, however, no transgender

 inmate was transferred to a facility matching their gender identity between December

 2019 and June 2021. (Doc. 348, p. 327). Dr. Hinton participated in a March 2020 TCRC

 meeting, during which the committee considered and denied a transgender inmate’s

 renewed request for transfer to a women’s prison even though the inmate had attempted

 suicide three times. (Doc. 348, pp. 329-32; Exhibit 453). In April 2020, the person

 attempted suicide again. A month later, she again sought a transfer to a female facility.

 The request was denied, but the plan was to transfer her to a residential treatment unit

 (in a male facility) for a higher level of mental health care, which was done in June 2021

 after yet another suicide attempt. (Doc. 348, pp. 334-40, 347-49; Exhibits 141, 466, 402).

 Dr. Hinton maintained that “routine” transfers were on hold during the COVID-19

 pandemic but transfers still took place for urgent or emergent reasons. (Doc. 348, pp. 346-

 47). Under the former committee structure (the TCRC), Dr. Hinton did vote to approve

 one transgender inmate’s transfer to Logan, but he voted to deny other requested

 transfer(s). (Id. at 355-56).

        Dr. Hinton admitted that this Court’s December 2019 Preliminary Injunction

 ordered IDOC to immediately cease the policy and practice of allowing the transgender

 committee (TCRC) to make medical decisions regarding gender dysphoria. (Doc. 348,

 pp. 340-41). Yet despite the order and Defendants’ representation of compliance in

 January 2020, the TCRC, which included Dr. Hinton as a voting member, continued to

 make medical decisions on gender dysphoria as late as June 2020, according to his June

 2020 deposition. (Id. at 341-42). He maintained that under both the old and new

                                       Page 29 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 30 of 87 Page ID #11542




 committee structures, he did not have input into whether hormone therapy would be

 approved, but he weighed in on mental health issues coming before the committee.

 (Doc. 348, pp. 349-50, 353-54). Dr. Hinton testified that under the current policies, the

 treating physician makes the decision whether to prescribe hormones for an individual.

 (Id. at 354). Two medical doctors, Dr. Puga and Dr. Conway, serve on the THAWC. Id.

        Work began on revising the transgender administrative directives and committee

 structure immediately after the December 2019 Preliminary Injunction. (Id. at 350-53).

 Dr. Puga and Dr. Reister, as well as other IDOC officials, were involved in the

 development, and outside experts and resources were consulted. Dr. Hinton had input

 but was not charged with authoring the new directives. Id. The TCRC was disbanded and

 replaced with the two committee structure, in order to separate administrative and

 nonmedical/non-mental health issues from the health and wellness concerns. (Id. at 352-

 53).

        Dr. Hinton participated in an online two-part training session put on by WPATH

 (the GID Foundations Course in September-November 2020) and stated that close to 100

 percent of mental health treating professionals have had some type of online WPATH

 training. (Doc. 348, pp. 361-62; Doc. 353, p. 374). Inmates who have problems with a

 mental health provider can use the grievance process to raise complaints, and there is a

 training/orientation and quality assurance process for those providers within IDOC.

 (Doc. 348, pp. 362-65).




                                      Page 30 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 31 of 87 Page ID #11543




 Plaintiffs’ Experts

        James Aiken

        James Aiken, who testified on August 3, 2021, is a criminal justice consultant who

 has 50 years of experience in the field, including as a warden in the South Carolina

 Department of Corrections, Deputy Regional Administrator in the Indiana Corrections

 system, and Director of Corrections for the U.S. Virgin Islands. (Doc. 348, pp. 241-42,

 Pl. Ex. 446). He has taught and provided technical assistance in many states on improving

 prison security and stabilizing problematic prison systems. (Id. at 243-45). He served on

 the commission that developed standards for implementing the PREA. (Id. at 243). At

 Plaintiffs’ request, he evaluated the treatment of transgender prisoners with gender

 dysphoria in IDOC’s custody regarding their vulnerability to violence/intimidation, as

 well as housing and commissary issues and searches, including review of IDOC’s

 administrative directives and other records. (Id. at 244-45).

        Aiken prepared an Expert Witness Report dated August 31, 2020. (Doc. 236-1). 9 In

 it, he concluded that there is no security justification for denying transgender prisoners

 medically necessary social transition (including gender-affirming clothing and grooming

 items, and being addressed by a name and pronouns consistent with their affirmed

 gender); there are no legitimate security reasons for denying transgender prisoners

 medically-recommended housing placements (aligning with the prisoner’s gender



 9
  Aiken’s report and his opinions set forth in the report were referenced during his trial testimony
 (Doc. 348, pp. 244-47, 249-52), but the report was not admitted as a trial exhibit. The report was
 previously filed of record by Defendants as an exhibit to their motion to bar some expert opinions,
 and the Court uses that document number (Doc. 236-1) in citing to Aiken’s report.
                                           Page 31 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 32 of 87 Page ID #11544




 identity rather than their genital status); and providing transgender prisoners the option

 of being searched by correctional staff of the same gender is supported by sound

 correctional practices. (Doc. 236-1, pp. 5-19).

        Aiken testified to his opinion that transgender prisoners’ medical needs take

 priority with respect to access to gender-affirming commissary items, and prison officials

 have the responsibility to provide access to those items in a safe, secure manner. He was

 not aware of any security reason to deny transgender inmates access to gender-affirming

 items. (Doc. 348, pp. 245-46). His report notes:

        Sourcing medically necessary items that meet a facility’s security needs is
        an essential function of a prison healthcare system, and this task is
        commonly performed for other medically necessary devices like casts,
        canes, walkers, and back braces. It is an operational/security mandate to
        accommodate the medical needs of the prisoners.

 (Doc. 236-1, p. 7).

        As to housing placement, if a medical decision has been made regarding housing

 of a transgender person for social transitioning, sound correctional practice is to

 implement the placement and build the security system to protect the transgender

 person, as well as other inmates and staff. (Doc. 348, pp. 246-47). In Aiken’s experience,

 placement of transgender women in a female facility reduces the possibility of random

 and systemic violence. (Id. at 247). Aiken’s report points to the recommendation set forth

 by the Prison Rape Elimination Commission that prisons should make an individualized

 determination about how to ensure the safety of each inmate, and placement of

 transgender, LGBTQ, or other gender-nonconforming inmates in a particular facility or

 unit should not be made solely on the basis of the person’s sexual orientation, genital

                                         Page 32 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 33 of 87 Page ID #11545




 status, or gender identity. (Doc. 236-1, p. 9; Doc. 348, pp. 253-54). He notes that

 Department of Justice regulations also reject the practice of housing transgender

 prisoners solely based on their genital status. Id., citing 28 C.F.R. § 115.42(c) and (e). Aiken

 observed that IDOC’s policy of housing transgender prisoners solely on the basis of their

 genital status failed to comply with these regulations. (Doc. 236-1, p. 9). Aiken further

 expressed concern that IDOC’s decision-making process regarding housing transgender

 prisoners improperly relied on security-related concerns to deny placements

 recommended by medical staff and allowed non-medical correctional staff to vote down

 such transfers. (Doc. 236-1, pp. 11-13; Doc. 348, pp. 255-57). He opined that IDOC was not

 adequately considering the elevated risk of sexual and physical assault faced by

 transgender women housed in male prisons when making transfer decisions. (Doc. 236-

 1, pp. 14-15).

        Aiken testified that allowing a transgender prisoner to choose the gender of the

 guard who will conduct a body search does not jeopardize the security of an institution.

 Further, the practice eliminates conflict and accusations of illicit conduct by staff that may

 occur with cross-gender searches. (Doc. 348, pp. 251-52). Aiken’s report noted that IDOC

 staff conducted searches of prisoners according to the gender of the facility (e.g., male

 officers search a transgender woman housed in a male prison), contrary to PREA

 standards limiting cross-gender searches except in exigent circumstances. (Doc. 236-1,

 pp. 16-17). In the context of cross-gender searches, a prisoner’s “gender” is based on their

 gender identity. (Doc. 236-1, 17).

        The Plaintiffs’ testimony demonstrated to Aiken that IDOC staff are not putting

                                         Page 33 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 34 of 87 Page ID #11546




 into practice the policies that are intended to address the vulnerability of transgender

 inmates. (Doc. 348, pp. 248, 261-62). Aiken had reviewed IDOC’s new administrative

 directives and noted that having a policy is only the first step in making changes; it will

 be necessary for all officials from the top down to personify and model the changes,

 engaging staff in discussions to manage change, reinforcing behavior, and moving staff

 into compliance and commitment to the policy. (Doc. 348, pp. 249-50, 252). He

 acknowledged that the 2021 Administrative Directive gives transgender inmates a choice

 on the gender of the person who will search them but testified that he didn’t see that

 being practiced, and Plaintiffs’ testimony demonstrated that the directive was not always

 followed. (Id. at 265-66).

        Dr. Vin Tangpricha

        Dr. Vin Tangpricha is a medical doctor specializing in endocrinology and the

 treatment of transgender individuals with gender dysphoria and is a professor of

 medicine at Emory University. He reviewed medical records of Plaintiff class members,

 prepared a report (Doc. 123-2) supporting Plaintiffs’ motion for preliminary injunction,

 and testified at the evidentiary hearing in 2019, as well as at the August 2021 bench trial.

 (Doc. 157, pp. 88-184; Doc. 186, pp. 11-14; Doc. 353, pp. 376-481).

        Dr. Tangpricha testified at trial that he has treated roughly 400 transgender

 patients over the past 10 years. (Doc. 353, p. 377). He co-authored the WPATH standards

 of care, is a past president of WPATH and serves on its board, and was a co-author of the

 Endocrine Society Guidelines for treatment of transgender people, which sets forth the

 minimum standards for care of gender dysphoria. (Doc. 157, pp. 91-92; Doc. 353, pp. 378,

                                        Page 34 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 35 of 87 Page ID #11547




 382). The first version of the Guidelines was published in 2008, and an updated version

 was published in 2017 (Doc. 157, p. 145).

        Dr. Tangpricha testified that if a transgender person is on hormone therapy but

 their blood hormone levels are not within the guidelines set by the Endocrine Society, the

 individual is not receiving effective care. (Doc. 353, pp. 384, 386, 388). A transgender

 female should have a blood testosterone level of less than 50 nanograms 10 per deciliter

 and Estradiol between 100-200 picograms per milliliter. (Doc. 353, p. 384; Doc. 157,

 pp. 121-22). 11 For a transgender man, the testosterone level should be between 400-700

 nanograms per deciliter. Id. If these levels are not achieved with the initial hormone

 medication at maximum dosages, the guidelines indicate a switch to a different

 medication regimen is in order. (Doc. 353, pp. 386-87, 389). Blood hormone levels should

 be monitored every three months so the clinician can adjust the hormone dosages. (Id. at

 390). For safety reasons, transgender women must be monitored for kidney function,

 prolactin, and potassium levels, and transgender men must have their blood counts

 monitored. (Id. at 385).

        If a person has a hormone-sensitive cancer or blood clots, those conditions should

 be treated before starting hormone therapy. (Id. at 391). No other medical conditions

 would justify denying or discontinuing hormone therapy to treat gender dysphoria.

 (Doc. 353, pp. 391-92). An elevated prolactin level may be caused by another medication



 10
    The bench trial transcript (Doc. 353, p. 384) erroneously stated the testosterone level should be
 below 15 nanograms per deciliter. (See Doc. 336).
 11
    The Court notes that Dr. Tangpricha testified to these target blood hormone levels in 2019, as
 well as in 2021.
                                           Page 35 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 36 of 87 Page ID #11548




 or a brain tumor; screening (such as an MRI to rule out a tumor) must be done to

 determine the cause, but a transgender woman could still be given Spironolactone to start

 hormone therapy. (Id. at 393-95). A transgender person on hormone therapy faces several

 health risks if therapy is suddenly stopped, including increased anxiety, depression,

 more self-harm, hot flashes, sweats, and loss of bone density. (Doc. 353, p. 397).

        When Dr. Tangpricha testified at the July 2019 evidentiary hearing, he stated that

 IDOC was “rarely” doing blood work for transgender prisoners. When lab tests were

 done, hormone levels in 90 percent of the tests were not in the accepted guideline ranges;

 he found no evidence that doses were being adjusted to achieve proper blood levels; and

 safety monitoring was not being done. (Doc. 157, pp. 142-44; Doc. 353, pp. 398-400). Two

 of the named Plaintiffs were on conjugated estrogen, which is not a recommended

 therapy. Dr. Tangpricha concluded in 2019 that hormone therapy for the Plaintiff class

 did not meet the Endocrine Society Guidelines and put their health at risk. (Doc. 157,

 pp. 142-44; Doc. 353, p. 400).

        Dr. Tangpricha prepared an updated report in August 2020, summarizing his

 review of medical records for the Plaintiff class between August 2019 and August 2020.

 (Doc. 353, pp. 400-01). As of August 2020, only one named Plaintiff (Janiah Monroe) was

 receiving blood tests to monitor hormones at the recommended frequency and had

 hormone levels in the proper range, but none of the safety blood tests had been done (for

 potassium, creatinine, and prolactin). (Id. at 402). The other four named Plaintiffs were

 not given blood tests at the recommended frequency and did not have hormone levels

 within the guideline ranges. (Doc. 353, p. 402). Two named Plaintiffs continued to be on

                                       Page 36 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 37 of 87 Page ID #11549




 conjugated estrogen. Dr. Tangpricha found no evidence that medical providers had taken

 any action in response to the blood tests or to symptoms reported by two individuals

 (continued frequent erections, breast pain, and headaches) that should have prompted

 further testing. (Doc. 353, pp. 402-04). For the larger Plaintiff class, out of the “several

 dozen” sets of medical records he reviewed, only six showed both the Estradiol and

 testosterone levels within the guideline ranges. (Id. at 405). Five people on hormones had

 undergone no blood tests at all, and another 15 had only one instance of blood work.

 Hormone doses were only “very rarely” adjusted to try to get blood levels within the

 correct range. Dr. Tangpricha concluded that the Plaintiff class’s hormone therapy had

 not meaningfully changed since he testified in July 2019 and “remained woefully

 inadequate.” (Id. at 405).

        Dr. Tangpricha prepared his most recent report in June 2021, analyzing medical

 records for the named Plaintiffs and other class members from August 2020 to June 2021.

 (Id. at 406-07). Of the named Plaintiffs, Melendez’s most recent blood work was in March

 2020, showing Estradiol at a “very low” level of 49, only half the guideline level, and it

 had dropped from the year before. Her testosterone level was higher than the guideline

 range. (Id. at 408). Additional records produced after June 2021 showed that Melendez

 was still on the same hormone dosages that resulted in levels outside the recommended

 ranges, and she continued to have distress from experiencing erections. She had not had

 repeat blood testing for hormone levels since 2020—even though some other blood work

 was done in February 2021. (Id. at pp. 408-10).

        As of June 2021, Kuykendall’s most recent blood work from October 2020 showed

                                        Page 37 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 38 of 87 Page ID #11550




 testosterone levels in the guideline range, but her estrogen level was “extremely low,”

 having dropped significantly from her November 2019 test. (Id. at 410). Her prolactin

 level was more than twice the normal level, yet no provider had questioned her about

 symptoms or recommended any tests to determine why prolactin was elevated, nor had

 her Estradiol dose been adjusted. (Doc. 353, pp. 410-11). After Dr. Tangpricha’s June 2021

 report, he obtained blood test records from May 2021 on Kuykendall, which showed her

 Estradiol and testosterone were within the guideline ranges for the first time since 2015,

 but her prolactin level had not been checked. (Id. at 413). Dr. Tangpricha concluded her

 hormone therapy was inadequate and put her at risk because it should not have taken six

 years to achieve therapeutic hormone levels, and nothing had been done to investigate

 the cause of her elevated prolactin.

         Monroe’s records showed blood work from March 2021 with testosterone in the

 guideline range, but her Estradiol level was too low and showed a decline of nearly 50

 percent within the past two years. (Id. at 414). Her May 2021 blood tests showed the same

 results, there had been no adjustment in her medications, and she was still having

 “intense symptoms of gender dysphoria.” (Id. at 414-15).

         Sasha Reed’s last blood work was done in June 2020; it showed Estradiol within

 the proper range, but her testosterone was too high. (Id. at 415-16). Her prolactin levels

 were checked in August and September 2020 and were elevated, but as of June 2021 she

 had not been given an MRI to confirm or rule out a pituitary tumor. Additional records

 produced since June 2021 showed no further blood or diagnostic testing, placing her at

 risk.

                                        Page 38 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 39 of 87 Page ID #11551




        Lydia Vision’s records as of June 2021 showed no blood testing since November

 2019 and no safety lab testing in over a year. Her testosterone was last checked in April

 2018 and the level was 54, above the guideline range. (Doc. 353, pp. 416-17). Newer

 records since June 2021 showed Vision’s testosterone within the guideline range but her

 Estradiol had decreased to below the guideline range, despite her being on a higher than

 maximum dose of oral Estradiol. She had not been put on a different estrogen medication

 as the Endocrine Society Guidelines recommend. Her Spironolactone had been decreased

 without any explanation in the records. (Doc. 353, p. 417).

        Based on this review, Dr. Tangpricha concluded none of the five named Plaintiffs

 was receiving adequate hormone therapy, despite his testimony nearly two years prior

 that specified what needed to be done to properly treat these individuals, as well as other

 members of the Plaintiff class. (Id. at 418).

        Dr. Tangpricha also reviewed medical records produced for over 100 class

 members and concluded their treatment was likewise still inadequate. (Id. at 418-19).

 Only eight individuals had hormone levels in the correct range, blood work was not done

 often enough and did not always check levels of all hormones, and there was rarely any

 response to the lab results. After June 2021, Dr. Tangpricha received additional records

 on over 90 class members, which showed an increase in the frequency of blood testing in

 the past six months but revealed that out of 91 people, only 11 had hormone levels within

 the guideline ranges. (Id. at 419). Conjugated estrogen had been discontinued, but

 potassium and kidney levels were still not being measured, and no changes were made

 to hormone dosages in response to blood tests. (Doc. 353, pp. 419-24; Exhibits 488A, 488B,

                                         Page 39 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 40 of 87 Page ID #11552




 488C, 488D).

        Dr. Tangpricha testified in detail about the medical records of three individuals.12

 (Doc. 353, pp. 420-47). Two of the transgender women’s medical records reflected their

 diagnoses as “GID” (Gender Identity Disorder), an outdated and no longer medically

 accepted term. (Id. at 424-25, 445). The first individual’s hormone levels were not in the

 correct range in October 2020, yet the provider documented her condition as “GID stable,

 good,” and did not recommend any change in her hormone dosages. (Id. at 425-26). This

 person’s April 2021 lab tests showed her hormone levels were even farther outside the

 guideline ranges, with the testosterone level having tripled to 729. (Id. at 427-28; Exhibits

 488E, 488F). Her clinic notes dated June 18, 2021, showed the same Estradiol and

 testosterone levels, with another note, “Transgender, good, stable. Leaving in August.”

 (Id. at 328-29).

        The second individual started hormone therapy around February 2020, but no

 blood work was done until October 2020 when she should have been tested at least three

 times in that interval. (Id. at 429-33; Exhibits 489A, 489B). Her Estradiol level was 36, less

 than half of the target 100-200 range, her testosterone level was not tested, and her

 prolactin level was very high at 21.3. (Doc. 353, pp. 431-32). Nothing was done to

 investigate the reason for the elevated prolactin, 13 no testing had been done for other



 12
    While these individuals’ names are redacted from the official transcript, the redacted and
 unredacted transcripts confirm the testimony covered records for three people. (Doc. 353, p. 446).
 13
    Dr. Tangpricha noted that this individual was on a medication, Remeron, which is known to
 increase prolactin, but her records contained no evidence that her provider had considered
 changing that medication or taking any other steps to address her elevated prolactin. (Doc. 353,
 pp. 437-38).
                                          Page 40 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 41 of 87 Page ID #11553




 safety issues (potassium and kidney function), and her hormone dosages were not

 adjusted in response to the labs. Her October 2020 evaluation of suicide potential ranked

 her at 10 out of 10 for both depression and anxiety, which are known symptoms of

 untreated gender dysphoria, yet she was described in November 2020 as “GID good,

 stable.” (Doc. 353, pp. 433-38; Exhibits 489C, 489D, 489E). No additional blood tests had

 been done since October 2020, and in May 2021 her hormone dosages were the same as

 in May 2020. (Doc. 353, pp. 436-37).

        The third individual had formerly been on hormone therapy, but her estrogen was

 discontinued, causing her to undergo unwanted physical changes and experience

 depression, anger, and frustration. (Id. at 438-47; Exhibits 491A, 490A, 490B, 490C). As of

 August 2020, she had been off estrogen for two and a half years and had been told the

 reason was because her A1C level (a marker for diabetes control) was elevated. According

 to Dr. Tangpricha, elevated A1C is not a medically accepted reason to discontinue

 hormone therapy because diabetes can be treated alongside gender dysphoria. (Doc. 353,

 pp. 440). Discontinuing hormones for a person with gender dysphoria would be expected

 to increase anxiety and depression—as this individual reported—and creates a risk of

 osteoporosis and bone loss. (Id. at 440-41). Her March 2021 records showed she still was

 not receiving hormone therapy and had contacted mental health about the matter. (Id. at

 441-42). On April 20, 2021, she reported to mental health that she was still upset about

 not receiving hormone therapy. (Id. at 443). Her A1C had reached a normal level but

 hormones had not been restarted. (Id. at 442-45). She was again prescribed Estradiol and

 Spironolactone, at a time when her A1C level had gone back to above normal. (Doc. 353,

                                        Page 41 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 42 of 87 Page ID #11554




 pp. 445-46, 457).

        Dr. Tangpricha testified these records indicate the medical providers were not

 qualified to properly administer hormone therapy because no medication adjustments

 were made when tests showed hormone levels out of therapeutic ranges, blood tests were

 not being done at proper intervals and often did not include safety monitoring, and when

 safety substances were tested, providers were not reacting to results such as elevated

 prolactin with further diagnostic measures. (Id. at 426, 429, 438, 446, 477-78). These three

 individuals’ cases were not “outliers” but were typical of the problems found in records

 for many of the 90-plus class members. (Id. at 446-48). Dr. Tangpricha concluded that

 IDOC has not meaningfully improved hormone therapy for Plaintiff class members

 during the two years since the 2019 hearing (that led to the Court’s first Preliminary

 Injunction). In his opinion, Plaintiffs are still being placed at risk with ineffective and

 unsafe treatment. (Id. at 447).

        Dr. Randi Ettner

        Dr. Ettner testified for the Plaintiffs in the 2019 evidentiary hearing and again at

 the August 2021 trial. (Doc. 158, pp. 4-100; Doc. 186, pp. 14-16; Doc. 353, pp. 481-516;

 Doc. 325, pp. 523-574). She is a clinical and forensic psychologist specializing in the

 assessment and treatment of gender dysphoria. (Doc. 158, p. 5; Doc. 353, p. 482). She has

 treated over 3,000 patients with gender dysphoria including imprisoned individuals, has

 consulted with prisons on policies for transgender inmates, and has authored numerous

 peer-reviewed publications on transgender health. (Doc. 158, pp. 7-8; Doc. 353, pp. 482-

 85). She has been involved with WPATH since 1992, holding leadership positions

                                        Page 42 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 43 of 87 Page ID #11555




 including chairing the committee for incarcerated persons since 2009 and co-authoring

 the new update of the WPATH Standards of Care. (Doc. 353, pp. 485-86).

        Prior to the 2019 hearing, Dr. Ettner personally evaluated each named Plaintiff and

 reviewed their medical records, concluding that each has severe gender dysphoria that

 IDOC is not adequately treating by delaying hormone therapy or denying it altogether

 for reasons that are not medically justified, failing to facilitate social transition, and failing

 to assess them for surgical intervention. (Doc. 158, pp. 9-10, 34-44, 38; Doc. 186, p. 14). Her

 review of records of other Plaintiff class members showed the same pattern of inadequate

 treatment. (Doc. 158, pp. 10-12, 37-38; Doc. 186, p. 14). Dr. Ettner concluded that none of

 the members of the former TCRC were competent to treat gender dysphoria, and IDOC

 mental health staff, in general, were likewise not competent to treat gender dysphoria.

 (Doc. 158, pp. 50-51, 55-56; Doc. 186, p. 15). In sum, she opined that transgender inmates

 in IDOC facilities were at risk for self-harm, psychological decompensation, and suicide

 because of the deficiencies in medical treatment for gender dysphoria. (Doc. 158, pp. 58-

 59; Doc. 186, pp. 15-16; Doc. 353, pp. 489-90).

        Since the 2019 hearing, Dr. Ettner has spoken to all the named Plaintiffs, visited

 Monroe in prison, talked with two other Plaintiff class members, and reviewed “tens of

 thousands” of documents including medical and mental health records, transcripts,

 Administrative Directives, emails, and recordings of committee meetings. (Doc. 353,

 pp. 486-89). She testified in August 2021 that she had “slightly” changed her conclusion

 regarding the adequacy of the named Plaintiffs’ care since 2019. (Id. at 490). As of August

 2021, Monroe and Vision had obtained a transfer, Vision had begun hormone treatment,

                                          Page 43 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 44 of 87 Page ID #11556




 there was “some recognition” that the named Plaintiffs require surgery, and Vision had

 met with a surgeon. (Doc. 353, p. 490). But Dr. Ettner still maintained that care of the

 named Plaintiffs and the wider class fell below the WPATH Standards of Care and was

 inadequate because they have not had sufficient social transition including access to

 commissary items, were subject to searches and pat downs by male officials, had not been

 evaluated for surgery, and were not receiving adequate endocrine treatment. (Doc. 353,

 pp. 490-94). For the individuals who had been transferred to a women’s prison, Dr. Ettner

 had concern whether adequate training had been done so that the transgender prisoners

 could be successfully integrated into the facility. (Id. at 491-92).

        Class members’ records were “peppered with examples” of prisoners being

 denied hormone treatments based on psychological factors such as not being “stable,”

 having engaged in self-harm, or getting disciplinary tickets—none of which are reasons

 to withhold hormones—and instead underscore the need for hormone treatment for a

 person with gender dysphoria. (Doc. 353, pp. 494-95; Doc. 325, pp. 541-44). Dr. Ettner

 cited several examples of mental health providers failing to understand the difference

 between symptoms of gender dysphoria and separate psychological concerns, as well as

 many examples of misgendering and lack of basic understanding and vocabulary

 surrounding gender dysphoria. (Doc. 353, pp. 495-97; Doc. 325, pp. 549-51).

        Dr. Ettner saw no developments since 2019 to change her opinion that IDOC’s

 treating staff lack the expertise to provide adequate treatment to class members with

 gender dysphoria. (Doc. 353, pp. 514-16). While WPATH certification is not a requirement

 for a provider to render adequate care to transgender prisoners, a provider should have

                                         Page 44 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 45 of 87 Page ID #11557




 experience, qualifications, and understanding about what constitutes adequate care.

 (Doc. 325, pp. 568-69). In her opinion, IDOC providers have not displayed minimal

 competence in treating gender dysphoria, and members of the THAW Committee are not

 providing adequate care for transgender prisoners. (Doc. 325, pp. 568-69).

        Dr. Ettner testified that IDOC’s process for approving individuals for gender-

 affirming surgery does not align with the WPATH Standards of Care because the

 template for the assessment by the prisoner’s mental health professional is inadequate to

 inform the surgeon about the patient’s needs. (Doc. 353, pp. 497-500). The surgical

 assessment/referral should include a thorough psychological review of the therapist’s

 interaction with the patient; the provider should know the patient well or have followed

 him/her over a period of time; and there should be a second independent review by a

 different provider. (Doc. 325, p. 572-74). Dr. Ettner saw no indication that this type of

 assessment had occurred for any of the class members seeking surgery, and it was unclear

 whether individuals met with the same provider consistently who was able to get to

 know the patient over a period of time. (Id. at 573-74).

        Dr. Ettner discussed the IDOC’s recently revised Administrative Directives 14 and

 the procedures under those documents. (Doc. 353, pp. 502-11). She concluded that the

 Directives are not consistent with the WPATH Standards of Care because they provide

 that medical decisions are still made by a committee of people who are not the treating

 providers for the transgender individuals; they do not include shared decision-making



 14
   “Evaluation, Treatment, and Correctional Management of Transgender Offenders” (Exhibit
 600) and “Searches of Offenders” (Exhibit 601).
                                        Page 45 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 46 of 87 Page ID #11558




 that honors the patient’s decision on medically indicated treatment; and in practice,

 inappropriate criteria such as a person’s sexual activity, disciplinary tickets, ordinal

 crime, and physical stature are used to deny medical treatment. (Doc. 353, pp. 502-09).

        Dr. Ettner opined that a decision whether to transfer a transgender prisoner to a

 facility matching their expressed gender is a medical decision, because it facilitates social

 role transition, which is a medical accommodation. (Doc. 325, pp. 529-31, 562-63).

 Likewise, access to gender-affirming commissary items and the ability to choose the

 gender of the officer who conducts a body search are part of medical treatment for gender

 dysphoria. (Id. at 531-32). Cross-gender body searches do not align with the standards of

 care or gender-affirming care.

        Dr. Ettner concluded in 2019 that the TCRC members did not meet the

 qualifications set forth in the WPATH Standards of Care, 15 and in 2021 she opined that

 the officials still have not met those criteria although they have gained some knowledge.

 (Doc. 353, pp. 512-13; Doc. 325, pp. 544-45). Some committee members have taken the

 WPATH GEI (Global Education Initiative) Foundations Course, which is introductory

 level training in the field of transgender healthcare, and participated in other meetings,

 but those sessions do not confer expertise to qualify as a mental health professional under

 the WPATH Standards. (Doc. 353, pp. 513-14).

        In her reviews of records and interactions with the named Plaintiffs since the 2019

 hearing, Dr. Ettner observed that they and other class members have suffered harm



 15
   Dr. Ettner referred specifically to the minimum criteria in the Standards of Care at 22 and 23 for
 a qualified mental health professional who can assess and treat gender dysphoria.
                                           Page 46 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 47 of 87 Page ID #11559




 including emotional and psychological decompensation (major depressive disorders,

 anxiety, trauma, self-harm, suicidal ideation, and suicide attempts) due to

 inappropriately treated or untreated gender dysphoria. (Doc. 325, pp. 533-36).

 Defendants’ Evidence

        Dr. Shane Reister

        Dr. Reister, a Licensed Clinical Psychologist, has been the Southern Regional

 Psychologist Administrator for IDOC since 2013 and previously worked in IDOC for five

 years as a Wexford Health Sources contract employee. He is responsible for overseeing

 mental health services for 11 prisons and two boot camps, as well as for quality assurance

 and trainings. (Doc. 325, pp. 576-78, 609). Dr. Reister participated on the former TCRC

 and is a voting member of both the THAWC and TAC based on his appointment to the

 TAC by Dr. Puga (TAC co-chair) and his appointment to the THAWC by Dr. Bowman

 (Id. at 614-17). He updates trainings and consultations with IDOC clinicians based on

 problems that come to the attention of those committees. Dr. Reister assisted in drafting

 the April 2021 Administrative Directive (Exhibit 600) and emphasized the need for access

 to surgeries for transgender inmates, based on his research. (Id. at 594-96).

        Dr. Reister consults with mental health providers throughout the state on

 transgender care issues, holding monthly transgender care case conferences for providers

 (who must attend at least 50 percent of these), and he visits facilities to assist clinicians if

 they request help. (Id. at 577-78, 582-85, 611-12; Doc. 354, p. 633). Each inmate’s treatment

 plan is created by the on-site mental health provider in consultation with the patient.

 (Doc. 325, pp. 592-93). Dr. Reister will consult with the provider and the client in the event

                                         Page 47 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 48 of 87 Page ID #11560




 of a disagreement over treatment if the matter is brought to his attention. (Id. at 593-94).

           Dr. Reister attended the two-part GEI special training that WPATH conducted for

 IDOC and has attended other WPATH conferences. (Doc. 325, p. 578). He has been a

 WPATH member but is not certified by WPATH. WPATH offered its entry-level GEI

 training to IDOC on three different occasions, and it was mandatory for mental health

 providers. (Id. at 619-20; Exhibits 510, 511, 512).

           Most of the IDOC mental health providers who treat gender dysphoria have

 volunteered to do so based on their interest. (Id. at 581-82). Yet five of the providers who

 volunteered to give transgender care never attended the “mandatory” WPATH training.

 (Doc. 354, p. 629; Exhibit 513). The providers who refused to treat Melendez for gender

 dysphoria, one of whom (Ramos) 16—who recently asked her what Jesus would want and

 told her to learn to live in the body she has—did not participate in the WPATH training.

 (Doc. 325, pp. 622-23). Ramos had three opportunities to take the training since he was

 hired in 2020 yet did not. (Doc. 354, p. 628). For the providers who did attend the online

 training, there was no test or follow-up to ascertain whether the provider engaged with

 the training or absorbed the material, and there has been no formal training on how to

 implement the new Administrative Directives. (Id. at 630-31).

           The mental health providers in IDOC are Wexford Health Sources employees,

 most of whom have master’s level licensing. Dr. Reister does not supervise or hire these

 Wexford employees but does consult with them. (Doc. 325, pp. 579, 610). In addition to

 the WPATH GEI training, Dr. Reister developed a 10-hour training on transgender care


 16
      (Melendez testimony, Doc. 347, pp. 63-65).
                                            Page 48 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 49 of 87 Page ID #11561




 in corrections, which is given over two days and is offered two or three times per year.

 (Doc. 325, pp. 580, 585-86, 589-91). Dr. Reister consulted outside providers in developing

 his staff training programs. (Doc. 325, pp. 603-04). Dr. Reister also consults with Dr. Erica

 Anderson (a consultant for IDOC discussed below) on a weekly basis. (Id. at 592).

        In addition to training mental health staff, Dr. Reister provides a recorded annual

 training on transgender matters for all IDOC staff including new employees on issues

 such as misgendering and respect for transgender inmates. (Id. at 586-89, 605-07). The

 transgender portion of the training runs for about an hour and 20 minutes. (Id. at 608). As

 of the August 2021 trial, he had not yet been able to update this training to include the

 April 1, 2021 Administrative Directives. (Id. at 596-97; Doc. 354, p. 631). IDOC staff are

 responsible for reviewing all administrative directives on their own. (Doc. 325, pp. 606-

 07).

        Dr. Reister has disseminated information on the additional commissary items that

 are to be available to transgender prisoners but was unaware until hearing Plaintiffs’

 testimony that some facilities still did not have some items in stock and were not

 providing undergarments to transgender prisoners as required. (Id. at 599-600).

        Under the new THAWC, hormone treatment decisions are made by the site

 provider rather than by the committee, but the committee still must give final approval

 to transfers and surgery requests after the site provider presents a case. (Id. at 614). Under

 the former TCRC, the committee would handle between six and 10 cases per month. With

 the new THAWC structure, the process has been slower in considering surgery requests.

 (Doc. 325, pp. 601-02).

                                         Page 49 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 50 of 87 Page ID #11562




        Dr. Reister sent out a survey in August 2021 in order to make a complete list of

 transgender individuals and what surgical procedures they want. (Doc. 325, p. 602). Prior

 to 2020, Dr. Reister had conducted a comprehensive survey of all known transgender

 prisoners in IDOC, which he shared in April 2021 with Dr. Conway, Dr. Puga, and

 Dr. Anderson so that the THAW Committee would have a list of all prisoners requesting

 surgeries. (Doc. 354, pp. 634-36; Ex. 509). The survey showed that 28 of the 139 prisoners

 listed had requested hormones but had not received treatment. Dr. Reister did not know

 whether follow-up had been done to see why those people were not on hormones. (Id. at

 637). Fifty-one of the individuals on the list had requested a facility transfer, and 97 of the

 139 had a desire for surgery. No surgeries had been approved as of the August 2021 trial,

 but four surgery requests had been reviewed. (Id. at 637-39).

        Dr. Reister is developing the PRISM program—a special housing unit located in

 Centralia Correctional Center—in consultation with the Moss Group, to address safety

 concerns of transgender prisoners housed in facilities that do not align with their gender

 identity. (Id. at 648-51). Prisoners accepted for placement in the unit must agree to take

 part in peer education on anti-racism, anti-transphobia, anti-heterosexism, and anti-

 sexism; staff and inmates will participate in training in these areas. Inmates in the unit

 may be transgender or cisgender and are referred for transfer to the unit by on-site staff.

        Dr. Lamenta Conway

        Dr. Conway is a board-certified physician in internal medicine who has been the

 IDOC’s Deputy Chief of Health Services since September 2019, with responsibility to

 improve inmates’ health. (Doc. 354, pp. 652-53). Her 22 years of experience is primarily

                                         Page 50 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 51 of 87 Page ID #11563




 in academic medicine. She cared for transgender patients in her earlier primary care

 practice but was not involved in diagnosing gender dysphoria. (Doc. 354, p. 691). She was

 assigned responsibility for care of transgender inmates around the time of this Court’s

 December 2019 Preliminary Injunction. (Id. at 653).

        One of the first changes made after that injunction was for the TCRC to stop

 making decisions on whether an inmate would get hormone therapy; going forward

 those decisions are made by the treating medical provider. (Id. at 657-58). The COVID-19

 pandemic slowed progress on revising policies and changing to the dual committee

 structure of the THAWC and TAC. (Id. at 658-60). Dr. Conway chairs the THAWC and

 serves with Dr. Puga, Dr. Reister, and Dr. Anderson on both committees. (Id. at 660-63).

 Their membership on both committees provides oversight because inmates’ medical

 concerns are affected by the operational and safety matters that are the province of the

 TAC, but no operational staff are included in the THAWC.

        After the committee change took effect, the THAWC discussed several requests

 for transfer to Logan from inmates who had not previously identified as transgender and

 had not requested hormone therapy, some of whom were designated as sexually

 dangerous persons. 17 (Id. at 664-66).

        In order to comply with the Preliminary Injunction’s requirement that decisions

 on treatment for gender dysphoria are to be made by medical professionals who are

 qualified to treat the condition, Dr. Conway ensures that newly hired physicians have



 17
   Prisoners designated as “Sexually Dangerous Persons” are not eligible for transfer away from
 Big Muddy Correctional Center. (Doc. 354, p. 666).
                                          Page 51 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 52 of 87 Page ID #11564




 proper credentials. (Doc. 354, pp. 667-68). Some physicians have been terminated. (Id. at

 668-69). Dr. Conway advocated for WPATH training for medical providers, noting that

 self-study is not adequate for the highly specialized area of hormone care and surgical

 care for transgender patients. (Id. at 694-95). The WPATH GEI Foundations course has

 been offered to medical directors, providers, health care administrators, and operational

 staff including majors, lieutenants, and wardens. (Id. at 668-69). Wexford has updated its

 policy on transgender care and has trained providers on hormone therapy. (Id. at 677).

        The THAWC had its first meeting in April 2021 and held four meetings prior to

 the bench trial. (Id. at 661-62). The main role of the THAWC is to make sure that gender-

 affirming surgery is provided without barriers and in alignment with the WPATH

 recommendations. The patient must have capacity to give informed consent, have lived

 in their gender role for over a year, been on hormone therapy, and any psychiatric issues

 must be under reasonable control or care. (Id. at 681-82). The THAWC also assists with

 management of hormone therapy in challenging cases. (Id. at 697). Surgery requests are

 presented to the THAWC by the mental health provider who has been caring for the

 patient; the medical provider may also participate in the presentation. (Id. at 681-82, 714-

 15). Letters of support from both the mental health provider and medical provider are

 prepared after THAWC approval, based on templates provided by Dr. Conway, and are

 given to Dr. Loren Schechter, who will perform gender-affirming surgeries.

 (Id. at pp. 715-16, 740). The THAWC approved two inmates—whose cases had been

 considered before the pandemic—for surgery in May 2021. Four others were approved

 in July 2021, and three patients were denied approval for surgery at that time. (Id. at 682-

                                        Page 52 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 53 of 87 Page ID #11565




 83, 725-26, 731-33). One was denied based on concern over medication compliance and

 high testosterone levels; the other two had never previously identified as transgender,

 were only recently diagnosed with gender dysphoria, were not on hormone therapy, and

 had expressed interest in surgery but had not actually requested it. (Doc. 354, pp. 731-35).

        Some inmates whose surgery requests had been previously considered and denied

 by the former TCRC have not yet been reconsidered by the THAWC, while newer

 requests were considered ahead of them. (Id. at 747-48). Dr. Conway stated the committee

 needs to catch up and re-present those cases “fairly quickly.” (Id. at 730-31). Similarly, the

 THAWC needs to address and fix the situation of the 28 prisoners who have been

 diagnosed with gender dysphoria and have not been put on hormone therapy. (Id. at 748).

        Work is underway to arrange for hair removal for surgery patients, and for post-

 operative care at an appropriate facility, but these provisions have not been finalized as

 of August 2021. (Id. at 685-88, 721). When surgery is approved, the patient must be

 approved for Medicaid coverage, which is a process for all inmates who get inpatient

 treatment outside IDOC. (Id. at 689, 722-23).

        Dr. Ravi Iyengar, an endocrinologist, sits on the THAWC to advise and educate

 the members on issues relating to hormone therapy. He is also available for clinical case

 conferences. (Doc. 354, pp. 662, 670-72, 697-98). An interagency agreement is being

 finalized with the University of Illinois Department of Endocrinology, under which a

 team headed by Dr. Brian Layden will provide direct care for all transgender prisoners

 in the state and participate in case conferences. (Id. at 670-73). Dr. Schechter (the surgeon)

 will conduct the final evaluation for inmates who are approved for gender-affirming

                                         Page 53 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 54 of 87 Page ID #11566




 surgery. Dr. Schechter also will sit on the THAWC and will provide educational videos

 for surgery candidates. (Doc. 354, pp. 674, 682, 685). Dr. Erica Anderson has consulted on

 revising the committee structure and participates in THAWC meetings as a non-voting

 member. (Id. at 674-75).

        To address the Court’s mandate to provide timely hormone therapy, Dr. Conway

 is initiating a continuous quality improvement (“CQI”) process, which should catch those

 cases where the inmate has requested but not been given hormone treatment and address

 problems of labs not being done timely. (Id. at 678-79). Southern Illinois University is

 contracted to work with IDOC on the CQI system to cover transgender health care, as

 well as overall health care in IDOC. Id. At the time of trial, the CQI system had not yet

 been drafted or implemented. (Id. at 713-14).

        The TAC is responsible for addressing the transfer aspect of social transition for

 transgender prisoners, but the THAWC is responsible for looking at the mental health

 and stability of inmates seeking a transfer and for referring cases to the TAC where

 transfer is needed. (Id. at 679-80). The TAC deals with issues related to searches, gender-

 appropriate commissary, placement, and transfers, which are also aspects of medical

 care. (Id. at 679-80, 696).

        New inmates undergo an initial medical exam and mental health screening within

 24 hours of entry to IDOC and, if indicated, a more comprehensive mental health

 evaluation is to be done within seven days. Inmates may or may not identify themselves

 as transgender during intake, and Dr. Conway was unsure whether psychiatry has

 oversight in place to make sure the intake procedures are followed. (Doc. 354, pp. 705-

                                       Page 54 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 55 of 87 Page ID #11567




 710). The THAWC is supposed to be notified of every inmate who identifies as

 transgender. (Doc. 354, pp. 746-47). Hormone therapy is to be continued if the new inmate

 had previously been prescribed such medication, but if a prescription cannot be verified,

 the person must go through the process to be evaluated by an IDOC provider before

 hormone therapy can be given. (Id. at 709-11).

        Dr. William Puga

        Dr. Puga is a physician specializing in psychiatry who has practiced since 1990.

 (Doc. 349, p. 763). He worked for Wexford as a treating psychiatrist in two Illinois prisons

 for a year before becoming the IDOC’s Chief of Psychiatry in March 2018. (Id. at 764-65).

 Dr. Puga is responsible for overseeing psychiatric care in all IDOC facilities, where the

 providers include approximately 50 Wexford contract psychiatrists, as well as other

 mental health staff. (Id. at 765-66).

        Dr. Puga was chair of the former TCRC and was involved with other IDOC

 officials in revising policies on transgender inmates, beginning in September 2019 and

 continuing after the December 2019 Preliminary Injunction, though the process was

 slowed by the pandemic. (Id. at 770-80). Four transgender women prisoners were

 transferred to Logan before the revised Administrative Directives were adopted in

 April 2021, and four more transgender women have been moved or assigned to Logan

 since then. (Doc. 349, pp. 781-84). In June 2021, Dr. Puga met with the newly formed

 transgender committee at Logan to prepare them to assist transgender inmates

 transferring there, and he has had follow-up communication with them regarding

 ongoing supervision and assistance. (Doc. 349, pp. 784-86, 880-82). The Logan committee

                                         Page 55 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 56 of 87 Page ID #11568




 includes mental health and medical professionals, security, and education staff.

        Dr. Puga serves on the THAWC as a voting member and is co-chair of the TAC

 along with co-chair Mike Chappell, a security specialist assigned to the committee by the

 Chief of Operations. (Doc. 349, pp. 787-88). Other members of the TAC are Dr. Conway

 (Deputy Chief of Health Services), Twyla Pillow (Transfer Coordinator), Tangenise

 Porter (Chief of Women’s Services), Dr. Reister, Deputy Director Smith, and Ryan

 Nottingham. (Id. at 822-23). The THAWC members are Dr. Puga, Dr. Conway,

 Dr. Hinton, Dr. Reister, and a Regional Nursing Administrator and medical consultants

 as appointed by the Medical Director. (Id. at 823-24). The former TCRC was made up of

 Dr. Puga, Dr. Hinton, Twyla Pillow, Mike Chappell, and Dr. Meeks (former Medical

 Director) who was replaced on the TCRC by Dr. Conway, and Dr. Reister. (Id. at 824-25).

        Dr. Puga testified that he thinks IDOC addressed the problems identified in the

 2019 Preliminary Injunction, which ordered Defendants to cease mechanically assigning

 housing assignments based on a prisoner’s genitalia and/or physical size or appearance.

 (Id. at 835-36). The April 2021 Administrative Directive states that transgender prisoners

 are not to be assigned to gender-specific facilities based solely on their external genitalia,

 specifies new prisoners must have medical and mental health screenings at intake, and

 includes procedures to follow when a prisoner first identifies as transgender. (Doc. 349,

 pp. 836-42). But when the co-chair of the TAC, Mr. Chappell, described the current

 practice in his July 2021 deposition, he confirmed that the TAC is not consulted about the

 initial housing placement of a newly arrived transgender prisoner, and the new prisoner




                                         Page 56 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 57 of 87 Page ID #11569




 will be assigned based on his/her genitalia alone. 18 (Doc. 349, pp. 842-43). Only if a

 transfer is requested by a transgender prisoner already in IDOC will the matter be

 brought to the THAWC and the TAC. Id. Under the directive, the TAC is only authorized

 to make transfer decisions, not initial placement decisions. (Id. at 844-45). As of the

 August 2021 trial, Dr. Puga had provided only limited training for staff on how to

 implement the new Administrative Directives. (Id. at 848-49).

        Dr. Puga acknowledged that despite his testimony in July 2019 that IDOC had a

 quality assurance program in place to ensure that WPATH standards of care were

 followed for transgender prisoners, no quality assurance program specific to transgender

 prisoners existed then or currently. (Id. at 831-34). Dr. Puga was informed in April 2020

 by Dr. Reister, with reference to inmate London Fulton, that Dr. Siddiqui continued to

 not prescribe hormones despite directions from Wexford. Dr. Puga then referred the

 matter to Dr. Conway. (Id. at 868-69). At the mental health weekly administrative meeting

 on May 1, 2020, Dr. Reister again brought up Dr. Siddiqui’s delay in giving hormone

 treatment to a transgender prisoner (London Fulton) and the doctor’s alleged comment

 that “it won’t hurt to be a straight man a little longer.” (Doc. 349, pp. 869-70). Dr. Hinton

 responded that immediate action should be taken regarding this patient, and he

 understood Dr. Puga was doing so. Id. Dr. Puga recalled referring the matter to


 18
   Dr. Puga and Mr. Chappell both noted a recent exception where a transgender woman assigned
 male at birth and who had previously been housed at Logan, was released from IDOC and then
 was assigned back to Logan upon her re-entry to IDOC custody. In that case, an informal meeting
 of the TAC was convened and voted to make the initial placement of the individual at Logan
 rather than at a male facility. (Doc. 349, pp. 841-43). There was one other instance of a new
 incoming transgender inmate being assigned to a facility matching their expressed gender, and
 the new Administrative Directive does not provide for this situation. (Doc. 349, pp. 886-87).
                                         Page 57 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 58 of 87 Page ID #11570




 Dr. Conway but he did not follow up with Dr. Siddiqui. 19 Dr. Conway had the authority

 to interface with Wexford directors on matters involving their providers, and Defendants

 introduced her email regarding a follow up meeting. (Doc. 349, pp. 876-77; Ex. 636).

        Dr. Puga believes that the training component of the Preliminary Injunction was

 satisfied by bringing the WPATH two-day online training to IDOC staff, which he

 attended. (Id. at 857-62). But some staff members’ certificates of attendance for the

 WPATH training (Dr. Siddiqui and Mike Chappell) appear to be contradicted by

 electronic sign-in sheets showing that those individuals did not sign into the session on

 the day of the training. Id. Dr. Puga explained that some staff at the facility signed in

 under one person’s name and other participants were present in the room.

        After the April 2021 Administrative Directives, all commissary items available to

 women prisoners at Logan are to be made available to transgender women housed in

 men’s prisons, however, not all items are currently in stock there. (Id. at 789-92). A survey

 of transgender men at Logan did not indicate problems with access to men’s commissary

 items there. (Id. at 799-80).

        Dr. Puga has been notified that cross-gender searches have still occurred even

 though they are prohibited under the new Administrative Directive, and he has alerted

 operations staff to the problem. (Doc. 349, pp. 792-93). 20 On cross-examination, it was


 19
    As set forth above, London Fulton testified at the bench trial that she still was not receiving
 hormones and refused to see Dr. Siddiqui after his comments to her. (Doc. 347, pp. 208-11).
 20
    The Directive on “Searches of Offenders” prohibits cross-gender strip searches. (Ex. 601, p. 2).
 It also provides that if an offender “claims to identify as transgender, yet has not been confirmed
 as such, [and] expresses concern for the gender of the staff performing a strip search, staff shall
 proceed with the search” and prepare a report for the TAC to review and take appropriate action.
 (Ex. 601, p. 11). Once a prisoner has been officially designated as transgender and listed as such
                                           Page 58 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 59 of 87 Page ID #11571




 pointed out that the Directive on transgender offenders permits a pat or body search to

 be performed on a transgender prisoner by either male or female staff in a male prison,

 but only female staff should perform a pat or body search in a female facility. (Doc. 349,

 pp. 850-51; Exhibit 600, p. 9).

        When an attorney for Kuykendall sought assurance that her client would not be

 subjected to a strip search by a male guard before a July 2021 in-person visit at Menard,

 the request was rejected by a lower-level official with a statement that the search “will be

 performed by a male officer since this is a male facility;” the Menard official attached the

 new April 2021 Administrative Directive as support. (Id. at 854-55, 878-79). Only when

 the matter was referred to Dr. Puga was it clarified to facility staff that a transgender

 prisoner is given the choice of which gender officer will search them. (Doc. 349, pp. 854-

 55, 878; Ex. 516). The process to follow in the event no female officer is available to search

 a transgender woman is still being refined. (Doc. 349, p. 793). Work is underway to allow

 identification of inmates as transgender in the “Offender 360” database, which is

 available to IDOC staff, and on the inmate’s ID card if the person is willing to be publicly

 identified as transgender. (Id. at 801-04).

        An inmate’s request for transfer is presented to the TAC via the “DOC-400” form;21

 the person’s diagnosis and medical/mental health history is presented by the mental

 health provider, and a representative from the warden’s office and medical is often there.


 in the Offender 360 database, his or her ID card should specify the gender of staff who will
 perform strip searches. (Id.; Ex. 600, pp. 8-9).
 21
    The DOC-400 is to be a “comprehensive snapshot” of the individual, including diagnostic
 criteria and checklists of prescribed medication, completed by the mental health provider in
 coordination with the physician. (Doc. 349, p. 795).
                                         Page 59 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 60 of 87 Page ID #11572




 (Doc. 349, pp. 794-95). Dr. Puga, along with Dr. Reister and Chief Porter of the women’s

 division, conducts an interview of the prisoner to consider the factors listed in the

 Administrative Directive (Exhibit 600) regarding placement and programming. (Id. at

 796-97). An individual’s “predator” designation is not an absolute bar to transfer if there

 is reason to re-evaluate that status. Id. An individual’s body size will not prevent her

 transfer to Logan. (Id. at 797-98). There is an appeal process for reconsideration of rejected

 transfer requests. (Id. at 804-05).

        Dr. Puga acknowledged receiving a copy of Dr. Reister’s comprehensive survey of

 transgender inmates in April 2021, which reported that 28 of the 135 prisoners were

 interested in (and apparently not on) hormone therapy, about 70 percent had requested

 surgery, and 37 percent wanted a transfer. (Id. at 872-74; Exhibit 509). Since that time,

 Dr. Puga had never added this data to a meeting discussion agenda and had not

 forwarded it to anyone for follow up. (Doc. 349, pp. 874-75).

        Dr. Erica Anderson

        Dr. Anderson, Defendants’ final witness, is a clinical psychologist with 40 years’

 experience in her field as a university professor, healthcare executive, and over the last

 10 years, as a consultant on transgender issues. Transgender herself, she has treated

 hundreds of transgender patients with gender dysphoria and trauma. (Doc. 349, pp. 890-

 91, 907). She has served as a consultant to the IDOC since January 2020, contracted

 through December 2021, to assist in improving the delivery of transgender health care.

 (Id. at 891-92). She worked with IDOC officials and Wendy Leach of the Moss Group

 (another IDOC consultant) to propose changes to bring IDOC policies into compliance

                                         Page 60 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 61 of 87 Page ID #11573




 with the Court’s 2019 Preliminary Injunction, and she helped draft the April 2021

 Administrative Directives. (Doc. 349, pp. 893-96; Ex. 600). She recommended the change

 to the two-committee structure set forth in that directive—to separate medical/mental

 health care decisions from security/administration issues—and she serves as a nonvoting

 advisor and participant in the THAWC and the TAC. (Id. at 897-902). She participates in

 Dr. Reister’s telephonic case conferences with treating mental health staff and convenes

 weekly with Dr. Puga, Dr. Reister, and Dr. Conway on matters relating to the new

 policies. (Id. at 898, 906).

        Dr. Anderson created the customized GEI training program on WPATH standards

 of care that IDOC medical and mental health treating professionals have participated in,

 first offered in late 2020 and conducted twice in 2021. (Id. at 902-04, 910-11, 913). At the

 time of her trial testimony, she was the president of USPATH (the U.S. affiliate of

 WPATH) and on the board of WPATH. She suggested Dr. Ravi Iyengar and Dr. Loren

 Schechter as endocrinology and surgical consultants, respectively, for IDOC. (Id. at 905).

        No training on matters relating to transgender prisoners had yet been prepared or

 offered to correctional officers and non-medical/mental health IDOC staff, though

 proposals for such training have been solicited. (Id. at 912-13).

        Dr. Anderson agreed that a transgender person could be highly distressed if they

 are prevented from making social transition changes to live in their affirmed gender. (Id.

 at 918). She acknowledged that despite the new directive’s provisions on access to

 gender-affirming commissary items, providing hormone treatment in accordance with

 endocrine guidelines, prevention of cross-gender searches, and housing assignments, the

                                        Page 61 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 62 of 87 Page ID #11574




 written policies have not yet been implemented. (Doc. 349, pp. 918-43, 948-49, 951-53).

                                      LEGAL STANDARDS

 Eighth Amendment Deliberate Indifference

        The Eighth Amendment prohibits cruel and unusual punishment and “imposes a

 duty upon states to provide adequate medical care to incarcerated individuals.” Boyce v.

 Moore, 314 F.3d 884, 888-89 (7th Cir. 2002). Deliberate indifference to the “serious medical

 needs of a prisoner constitutes the unnecessary and wanton infliction of pain forbidden

 by the Constitution.” Rodriguez v. Plymouth Ambulance Serv., 577 F.3d 816, 828 (7th Cir.

 2009) (citation omitted). Deliberate indifference has two elements. The first is whether the

 prisoner has an “objectively serious medical condition.” Arnett v. Webster, 658 F.3d 742,

 750 (7th Cir. 2011); Greeno v. Daley, 414 F.3d 645, 653 (7th Cir. 2005). The second element

 requires a showing that a prison official has subjective knowledge of—and then

 consciously disregards—an excessive risk to inmate health. Greeno, 414 F.3d at 653; see

 also Petties v. Carter, 836 F.3d 722, 728 (7th Cir. 2016). Deliberate indifference involves

 “intentional or reckless conduct, not mere negligence.” Berry v. Peterman, 604 F.3d 435,

 440 (7th Cir. 2010).

        Here, Plaintiffs point to pervasive deficiencies in delivery of medically necessary

 care and treatment on a systemic, statewide level in IDOC correctional institutions.

 See, e.g., Wellman v. Faulkner, 715 F.2d 269, 272 (7th Cir. 1983); Cleveland–Perdue v. Brutsche,

 881 F.2d 427, 430–31 (7th Cir. 1989) (recognizing claims of systemic health care

 deficiencies as a distinct category of deliberate indifference claims, as opposed to one

 based on “isolated instances of indifference to a particular inmate’s medical needs”). In

                                         Page 62 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 63 of 87 Page ID #11575




 this context, deliberate indifference can be demonstrated by “proving there are such

 systemic and gross deficiencies in staffing, facilities, equipment, or procedures that the

 inmate population is effectively denied access to adequate medical care[,]” or by showing

 “repeated examples of negligent acts which disclose a pattern of conduct by the prison

 medical staff” which result in an excessive risk of serious harm. Wellman, 715 F.2d at 272;

 see also Rasho v. Jeffreys, 22 F. 4th 703, 710 (7th Cir. 2022) (“persistence in a course of action

 known to be ineffective” can support an inference of deliberate indifference) (citing

 Whiting v. Wexford Health Sources, Inc., 839 F.3d 658, 662–63 (7th Cir. 2016); Phillips v. Sheriff

 of Cook Cnty., 828 F.3d 541, 554 (7th Cir. 2016)).

 Injunctive Relief

        Preliminary injunctions are extraordinary and drastic remedies that should not be

 granted unless the movant makes a clear showing that it has carried its burden of

 persuasion. Mazurek v. Armstrong, 520 U.S. 968, 972 (1997). Under Federal Rule of Civil

 Procedure 65, the party moving for an injunction has the burden of showing that it has

 some likelihood of succeeding on the merits, that no adequate remedy at law exists, and

 that it will suffer irreparable harm in the interim period prior to final resolution of its

 claims. Girl Scouts of Manitou Council, Inc. v. Girl Scouts of U.S. of America, Inc., 549 F.3d

 1079, 1086 (7th Cir. 2008). If the movant establishes these elements, the Court must then

 balance the potential harm to the movant if the preliminary injunction were wrongfully

 denied against the potential harm to the non-movant if the injunction were wrongfully

 granted. Cooper v. Salazar, 196 F.3d 809, 813 (7th Cir. 1999). The Court should also take

 into consideration the effect that granting or denying the injunction will have on the

                                          Page 63 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 64 of 87 Page ID #11576




 public. Girl Scouts, 549 F.3d at 1086.

        The Prison Litigation Reform Act (“PLRA”) applies to suits filed by incarcerated

 people and limits the equitable relief a district court can order. 42 U.S.C. § 1997e &

 18 U.S.C. § 3626. “The PLRA states that no prospective relief shall issue with respect to

 prison conditions unless it is narrowly drawn, extends no further than necessary to

 correct the violation of a federal right, and is the least intrusive means necessary to correct

 the violation.” Brown v. Plata, 563 U.S. 493, 530 (2011) (citing 18 U.S.C. § 3626(a). “When

 determining whether these requirements are met, courts must give substantial weight to

 any adverse impact on public safety or the operation of a criminal justice system.” Id.

 (internal quotations omitted)).

                                          DISCUSSION

        Defendants long ago conceded that Plaintiffs’ gender dysphoria is a serious

 medical condition. (Doc. 186, pp. 29-30). In issuing the December 2019 Preliminary

 Injunction, the Court concluded that Plaintiffs met their burden of showing a likelihood

 of success on the merits of their deliberate indifference claim. (Doc. 186, p. 35). The

 evidence at the August 2021 trial amply demonstrated that Defendants were aware that

 Plaintiffs were not receiving adequate medical care or social transition for their gender

 dysphoria and have suffered serious harm including suicide attempts as a result—yet

 they allowed these conditions to persist over the two-year period following the 2019

 evidentiary hearing that culminated in the first Preliminary Injunction.

        The Court adopts the discussion of the claims in its previous orders (Doc. 186;

 Doc. 331) regarding Plaintiffs’ entitlement to injunctive relief here. As previously noted,

                                          Page 64 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 65 of 87 Page ID #11577




 Plaintiffs’ 2021 trial testimony underscored the irreparable harm that they have

 experienced and continue to suffer from—anxiety, depression, suicidal ideation and

 suicide attempts, and self-mutilation—due to Defendants’ failure to provide even

 minimally adequate treatment of their gender dysphoria. Monetary damages cannot

 compensate for these harms. The balance of harms and the public interest continue to

 weigh heavily in favor of granting injunctive relief, and the trial evidence and

 supplemental filings demonstrate that constitutional violations persist.

       As the Court stated previously in its Preliminary Findings of Fact and Conclusions

 of Law (Docs. 331, 332), the new Administrative Directives do not comply with the

 Court’s previous order that medical treatment decisions regarding gender dysphoria

 must be made only by medical professionals who are qualified to treat gender dysphoria.

 (Doc. 212, p. 1). Social transition (including housing in a facility matching one’s gender

 identity and access to gender-affirming clothing and other items) is a medically necessary

 component of treatment for some prisoners with gender dysphoria, yet under the TAC,

 nonmedical staff continue to have the power to block transfer requests even if the medical

 or mental health providers recommend transfer as part of an individual’s treatment.

 Further, the Administrative Directives as currently written do not guarantee that a

 transgender prisoner’s choice of gender of the officer who will conduct a body search (pat

 down or strip search) will be honored. Again, this can be a medically necessary

 accommodation. Testimony demonstrated that the April 2021 Administrative Directives

 are not sufficient to inform prison staff of class members’ right to choose the searching

 officer’s gender prior to undergoing a search, and cross-gender searches are still routine.

                                       Page 65 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 66 of 87 Page ID #11578




       Following trial, as set forth on the record (Doc. 349, pp. 972-92) and in the

 Preliminary Findings of Fact and Conclusions of Law (Doc. 331), the Court concluded

 that adoption of IDOC’s new Administrative Directives (Exs. 600 & 601) did not result in

 improved treatment and care of members of the class and that further revisions of the

 Administrative Directives and implementation “on the ground” of revised policies was

 necessary to ensure constitutionally adequate treatment of Plaintiff class members.

       The undersigned acknowledged that it would take time to analyze the flaws in the

 new policy, and the Court wanted the parties’ input on the process. The Court’s verbal

 rulings on the last day of trial and Preliminary Findings of Fact and Conclusions of Law

 (Doc. 331) were issued because the Court felt that certain issues could not wait, because,

 as explained at the time, the evidence introduced at trial showed serious ongoing

 violations of the Eighth Amendment.

       The Court has now reviewed the parties’ supplemental briefing on the April 2021

 Administrative Directive 04.03.104. Plaintiffs submitted their detailed revisions, and

 Defendants set forth their counterproposal. Plaintiffs’ most sweeping proposed change

 to Administrative Directive 04.03.104 is abolition of the two-committee (“THAWC” and

 “TAC”) structure. (Doc. 335, pp. 4-7). The purpose of that proposed change is to ensure

 that only qualified medical providers will make treating decisions for prisoners with

 gender dysphoria (“GD”), as the Court ordered in December 2019. Plaintiffs urge that the

 THAWC/TAC division has not resulted in substantive changes in how decisions are

 made. Instead, it merely reshuffles the deck and keeps the same “cast of characters” in

 place to make decisions. For example, transfer, placement, and commissary issues fall

                                       Page 66 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 67 of 87 Page ID #11579




 within the range of medical treatment for GD yet are under the control of TAC, which

 includes members not qualified to make medical decisions. Plaintiffs assert that the once-

 per-month committee meetings are too infrequent and perpetuate the problem of

 decisions being made without considering a prisoner’s full medical and mental health

 record.

       In place of the committees, Plaintiffs suggest that IDOC hire or appoint two new

 professionals, the Transgender Mental Health Lead (TMHL) and Transgender Medical

 Lead (TML), both qualified to treat gender dysphoria, to oversee services statewide for

 transgender prisoners. They also suggest a new position of Surgical Consultant.

       In response, Defendants urge that overall, Plaintiffs’ proposed revisions to AD

 04.02.104 go way too far. (Doc. 346, pp. 3-5, 8-10). They warn that an injunction that does

 not defer to IDOC on how to plan and implement the relief ordered would run afoul of

 the constraints of the PLRA and Westefer v. Neal, 682 F.3d 670 (7th Cir. 2012). (Doc. 346,

 pp. 10-12). On the proposal for new positions (TMHL, TML, and Surgical Consultant),

 Defendants advise that IDOC cannot unilaterally create a new position and that the

 agency must go through state-required procedures for approval (see Doc. 346-2,

 Declaration of Mandy Page), so this will not be a timely fix for the problems Plaintiffs

 identify. In fact, gaining approval for any new position will take about four to nine

 months for an “exempt” position and six to 12 months for a “term” position. Finally,

 Defendants argue that replacing the THAWC and TAC committees with the proposed

 new positions will be unworkable, as well as cause significant delay. Defendants also

 point out that the proposed lead positions won’t report to anyone and don’t provide for

                                       Page 67 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 68 of 87 Page ID #11580




 collaborative decision-making or training for other providers.

        Defendants’ point regarding constraints on what the Court can order here is well

 taken. While changes certainly need to be made to accomplish the relief the Court has

 ordered, the Court simply cannot, under Seventh Circuit jurisprudence, implement the

 wide-sweeping revisions to Administrative Directive 4.03.104 Plaintiffs seek. Westefer,

 682 F.3d 670; Rasho v. Jeffreys, 22 F.4th 703, 2022 WL 108568, at *5 (7th Cir. 2022). And, of

 course, any relief ordered here must be limited to the class as defined in this litigation.

        How the Administrative Directives should be revised is an issue for the Monitor

 (Special Master) 22 to explore with the parties. (Doc. 370, p. 14). The focus must be on the

 outcome—that is, what new Administrative Directives will achieve. As explained

 previously and in this Order, class members must have timely decisions and action on

 requested treatment for gender dysphoria—including hormone therapy, surgery

 requests, placement, transfer, commissary, and search accommodations. And qualified

 professionals who are competent to make medical decisions on treatment for gender

 dysphoria must be the ones making decisions. These requirements likely will require

 some restructuring of the TAC so that medically necessary placements recommended by

 a treating professional cannot be vetoed by non-medical staff, but the Court leaves that

 up to the Monitor to analyze and make appropriate proposals.

        The Court also learned at the time of trial that IDOC had offered training to its

 medical and mental health providers, including the two-day entry level WPATH Global



 22
   As more fully discussed below, the Court advised the parties in December 2021 that a Monitor
 (Special Master) will be appointed in this case. (Doc. 370).
                                         Page 68 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 69 of 87 Page ID #11581




 Education Initiative (“GEI”) training, Dr. Reister’s training on transgender issues for

 mental health staff, and Dr. Reister’s annual hour and twenty-minute training for all

 IDOC staff. (Doc. 325, pp. 604-08). While the GEI training was described as “mandatory”

 for mental health providers, the Court expressed concern in August 2021 that several

 providers—including individuals who had problematic interactions with named

 Plaintiffs—never attended this training. As previously explained, besides all required

 personnel not participating, there was no verification that those who joined the virtual

 training paid attention during the course, and there was no quiz to verify a basic

 understanding of the materials. Again, Dr. Ettner testified that recent comments by

 medical staff and mental health professionals in the records suggest that many still lack

 the most basic understanding of GD. (Doc. 323, pp. 515-516). And, at the time of trial,

 IDOC had offered no training for correctional officers or other staff regarding the new

 Administrative Directives.

       The Court makes one final observation on a matter with respect to the need to

 revise IDOC’s policies that should receive priority treatment. The Monitor must promptly

 address concerns about initial placement of incoming transgender inmates that came out

 at trial. (Doc. 349, pp. 836-42). This testimony indicated that in spite of purported

 revisions to the policies, incoming inmates were continuing to be assigned to facilities

 based on their genitalia and would then have to go through TAC to obtain a transfer at

 some later date. Some provision needs to be made to determine on a timely basis the

 initial assignment of a transgender inmate to a prison matching their gender identity, as

 well as other matters, without inordinate delay.

                                      Page 69 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 70 of 87 Page ID #11582




         As previously stated, the undersigned finds that the evidence introduced at trial

 shows serious ongoing violations of the Eighth Amendment. It was for that reason the

 Court ordered immediate injunctive relief and outlined additional injunctive relief that

 was needed but would take time when the trial concluded. (Docs. 331, 332; 349, pp. 972-

 992).

         Since the conclusion of trial, the Court advised the parties on December 13, 2021,

 that it will appoint a Monitor (Special Master) to oversee Defendants’ compliance with

 the injunctive relief ordered. (Doc. 370). The Monitor also will assess and advise the Court

 on what revisions to IDOC policies and Administrative Directives are necessary in order

 to remedy the unconstitutional treatment of transgender prisoners in IDOC custody

 outlined by this Court and work with the parties to accomplish those revisions.

 Nonetheless, the Court sets forth below what has and has not been accomplished since

 trial and orders additional action by Defendants.

                                      INJUNCTIVE RELIEF

         Following the presentation of evidence by the parties during the bench trial held

 from August 2 to 5, 2021, the Court issued factual findings, CONTINUED its previous

 Preliminary Injunction (Doc. 212), and ORDERED additional relief to members of the

 class. (Docs. 331, 332, and corrected at Doc. 336).

 Relief Ordered on August 9, 2021:

    1. Plaintiffs Sora Kuykendall and Sasha Reed shall, within 7 days of the date
       of this Order, be given lab tests to check their prolactin levels. If those levels
       are still elevated, they shall be given an MRI test within 5 days of receipt of
       the prolactin results.



                                         Page 70 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 71 of 87 Page ID #11583




    2. Each member of the Plaintiff class who is currently receiving hormone
       therapy shall, within 14 days of the date of this Order, be given blood tests
       to assess hormone levels, as well as potassium, creatinine, and prolactin
       levels (for transgender females) and hemoglobin/hematocrit levels (for
       transgender males). Thereafter, if the hormone levels are not within the
       appropriate range set forth by the Endocrine Society Hormone Guidelines
       (for transgender females, testosterone of less than 50 nanograms/deciliter
       [as corrected on August 18, 2021, at Doc. 336] and estradiol between 100-
       200 picograms/milliliter; for transgender males, testosterone levels
       between 400-600 nanograms/deciliter), Defendants shall ensure that the
       individual’s hormone medication is titrated following receipt of the blood
       work results and blood work repeated at least every 3 months until the
       levels are within an appropriate range.

    3. Any Plaintiff class member who has requested hormone therapy to date
       shall, within 21 days of the date of this Order, get baseline blood work done
       and hormone therapy started within 14 days thereafter, with follow-up
       blood work at least every 3 months until the levels are within an
       appropriate range.

    4. Each Plaintiff class member receiving hormone therapy shall get blood
       work done at least once a year to assess hormone levels, as well as
       potassium, creatinine, and prolactin levels (for transgender females) and
       hemoglobin/hematocrit levels (for transgender males) and shall be treated
       as medically indicated by the results. No Plaintiff class member shall be
       prescribed conjugated estrogen.

    5. Any Plaintiff class member whose hormone levels are within the
       appropriate range, and who has requested evaluation for gender-affirming
       surgery, shall be evaluated for such surgery within 120 days of the date of
       this Order with inmates being evaluated in chronological order of the date of
       the inmate’s original request for surgery. Each class member so evaluated
       shall be provided a prompt written notification of the decision and, if
       surgery is denied, the written notification shall include an explanation of
       the reasons for denial and a timeframe to request another evaluation
       thereafter.

    6.    Plaintiff class members shall be allowed to choose the gender of the
         correctional officer who will conduct a search of their person, and the search
         SHALL BE conducted by a correctional officer of the gender requested.

    7. Each Plaintiff class member who has requested transfer to a facility
       matching his or her expressed gender (female facility for transgender

                                         Page 71 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 72 of 87 Page ID #11584




        women, male facility for transgender men) shall be evaluated for transfer
        within 120 days of the date of this Order, with inmates being evaluated in
        chronological order of the date of the inmate’s original request for transfer.
        Each class member so evaluated and denied transfer shall be promptly
        provided with a written explanation of each reason for the denial and
        allowed to request another evaluation for transfer within 180 days
        thereafter.

    8. Each Plaintiff class member shall immediately be provided with access to
       gender-affirming items in the commissary and shall immediately be
       provided with a list of available gender-affirming items. Defendants shall
       immediately ensure all approved gender-affirming items are available at
       the commissary at each class member’s institution. Defendants shall, within
       30 days of the date of this Order, provide the Court with a list of all
       commissary items available at each facility.

    9. Defendants shall immediately ensure that medical care and mental health
       treatment of Plaintiff class members shall be conducted only by medical
       staff and mental health professionals who have taken WPATH training and
       are committed to continuing education on issues of transgender health.
       Similarly, medical providers and mental health professionals who hold
       personal or religious beliefs that prohibit their treatment of inmates with
       gender dysphoria shall have no contact with any member of the class from
       this date forward.

    10. Defendants shall immediately ensure that transgender inmates are allowed
        access to a private shower.

        The Court acknowledged in its August 2021 preliminary ruling that Defendants

 had made some progress toward compliance with the Court’s Orders for preliminary

 injunctive relief (Docs. 186, 187, amended at Doc. 212) and recognized that the COVID-

 19 pandemic caused some of the delays in accomplishing compliance. (Doc. 331). Urging

 that the progress should continue, the Court ordered the following additional injunctive

 relief, to be completed within 120 days (on or before December 7, 2021), with respect to

 projects that were “in progress” as of the time of trial:




                                         Page 72 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 73 of 87 Page ID #11585




    1. Finalize the contract with Wexford to provide hair removal services to
       Plaintiff class members;

    2. Finalize the contract with Dr. Schechter to provide gender-affirming
       surgery to Plaintiff class members who are approved to receive such
       surgery;

    3. Finalize and implement the CQI (Continuing Quality Improvement)
       program for transgender care;

    4. Finalize IDOC’s written surgical standards for transgender care;

    5. Finalize and implement the PRISM project (the special population
       program) (discussed in Doc. 326, pp. 640, 648-49, 651)

    6. Finalize and implement additional and ongoing training for all correctional
       staff on transgender issues and awareness, including the harm caused by
       misgendering and harassment;

    7. Finalize and implement training for inmates and staff at Logan Correctional
       Center regarding incoming/transferred transgender inmates;

    8. Finalize and implement IDOC’s transgender identification policy.

 A status report concerning this relief was filed on December 8, 2021 (Doc. 369).

        The Court furthered ordered Defendants to provide the Court and Plaintiffs’

 counsel with a report (filed under seal) on the status of each Plaintiff class member’s

 (1) hormone levels; (2) status of any request for transfer; and (3) status of any request for

 surgery within 60 days (on or before October 8, 2021). A status report on these issues was

 filed on October 8, 2021 (Doc. 355; Doc. 357 (supporting information)). Plaintiffs

 responded to Defendants’ status report on October 27, 2021 (Doc. 359).

        The Court allowed Plaintiffs additional time to file supplemental evidence

 obtained in late-produced documents referenced in the motion for sanctions filed a day

 before trial commenced (Doc. 316). The Court also invited supplemental briefing

                                        Page 73 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 74 of 87 Page ID #11586




 concerning the new Administrative Directives and invited Plaintiffs to request additional

 injunctive relief and offered Defendants an opportunity to seek clarification of the Court’s

 Order. Plaintiffs filed a post-trial brief on August 16, 2021 (Doc. 335), and Defendants

 responded on September 7, 2021 (Doc. 346).

 Additional New Injunctive Relief

        Now, having reviewed the parties’ post-trial briefing and status reports, the Court

 finds it necessary to modify some of the previously ordered relief. Specifically, with

 respect to the “immediate” relief ordered in August 2021, the Court provides the

 following additional injunctive relief.

        First, in addition to the relief ordered in paragraph 2 regarding blood work to

 assess hormone levels and titration of hormone medication (see p. 71 above), the Court

 FURTHER ORDERS that:

        Defendants shall ensure that any necessary follow-up medical
        tests/treatment to address the results of potassium, creatinine, and
        prolactin level testing for transgender females and hemoglobin/hematocrit
        for transgender males takes place on a timely basis (for example, MRI tests
        for transgender females with elevated prolactin levels).

        Moreover, in addition to the injunctive relief ordered in paragraph 1 concerning

 “in progress” projects as of August 9, 2021 (specifically, hair removal services, see

 Doc. 332, p. 3, para. 1), the Court FURTHER ORDERS that:

        Defendants shall ensure the availability to class members of all medically
        necessary hair removal services, in addition to and including hair removal
        to prepare for gender-affirming surgery, within 30 days of the date of this
        Order.




                                           Page 74 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 75 of 87 Page ID #11587




 Follow-Up Injunctive Relief – Class Members Kuykendall and Reed

        The Court ordered Defendants to test the prolactin level of Plaintiffs Sora

 Kuykendall and Sasha Reed by August 9, 2021. (Doc. 332, p. 1, para. 1). Defendants

 reported on October 8, 2021 (Doc. 355, p. 1) that the tests were completed as ordered and

 were in normal range. The results were provided to Plaintiffs’ counsel. Nothing further

 is required from Defendants on this item.

 Follow-Up Injunctive Relief – Blood Work for Class Members Receiving Hormone
 Therapy

        The Court ordered Defendants to ensure that each member of the Plaintiff class

 who was receiving hormone therapy shall have blood work done to assess hormone

 levels, as well as potassium, creatinine, and prolactin levels (for transgender females) and

 hemoglobin/hematocrit levels (for transgender males), and that each individual’s

 hormone medication is titrated following receipt of the blood work results and blood work

 repeated at least every 3 months until the levels are within an appropriate range (emphasis

 added) (Doc. 332, pp. 1-2, para. 2). 23 Unfortunately, while Defendants appear to have

 partially complied with this portion of injunctive relief (they report that labs were drawn

 for initial results) (see Doc. 355, p. 2; Doc. 357), it is unknown whether blood work was

 done again three months later as ordered (in November 2021) 24 or whether any doses

 have been titrated or follow up tests or treatment ordered. In October 2021, Plaintiffs

 challenged Defendants’ compliance with the lab work directive, noting that at that time


 23
    Today the Court also ordered Defendants to ensure necessary follow-up medical tests and
 treatment take place on a timely basis.
 24
    Of course, on the three-month timeline, blood work would be due to be completed again this
 month, February 2022.
                                        Page 75 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 76 of 87 Page ID #11588




 63 class members had elevated prolactin levels. Although most of those individuals had

 been “referred to endo,” it is not clear when such referrals were made, to whom they

 were made, if any of them have been seen by an endocrinologist, or what, if anything has

 been done to address the elevated prolactin levels. Plaintiffs also noted that the

 overwhelming majority of class members continue to have hormone levels outside of the

 ranges recommended by the Endocrine Society Guidelines. In fact, Plaintiffs asserted that

 fewer than 15 class members—less than 10 percent of the class—had hormone levels

 within the recommended ranges.

          Defendants shall provide an update to the Court on this issue (whether blood

 work was done in November 2021 and is scheduled for February 2022, whether any doses

 have been titrated or follow up tests or treatment ordered, what has been done to address

 elevated prolactin levels, and whether class members with hormone levels outside of the

 recommended ranges have been brought within range) within 14 days of the date of this

 Order.

 Follow-Up Injunctive Relief – Blood Work for Class Members Requesting Hormone
 Therapy

          The Court also ordered Defendants to conduct baseline blood work and start

 hormone therapy for any Plaintiff class member who has requested hormone therapy by

 August 30, 2021, and to start hormone therapy within 14 days thereafter, with follow-up

 blood work conducted at least every three months thereafter until the hormone levels are

 within an appropriate range (Doc. 332, p. 2, para. 3).

          While Defendants reported that baseline blood tests were done for those inmates


                                       Page 76 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 77 of 87 Page ID #11589




 who did not refuse blood work (see Doc. 355, p. 2; Doc. 357), the Court has not been

 informed whether (or when) hormone therapy started or whether there has been any

 follow up blood work or medication titration. Defendants shall provide an update to the

 Court on this issue within 14 days of the date of this Order.

 Follow-Up Injunctive Relief – Annual Blood Work for Class Members

       Defendants were ordered to conduct blood work for each Plaintiff class member

 receiving hormone therapy at least once a year to assess hormone levels, as well as

 potassium,     creatinine,   and   prolactin   levels   (for   transgender   females)   and

 hemoglobin/hematocrit levels (for transgender males) and to treat each Plaintiff as

 medically indicated (and to not prescribe conjugated estrogen—see summary of Dr.

 Tangpricha’s testimony, above). (Doc. 332, p. 2, para. 4). As this was ordered in August

 2021, the timeframe for completion is months away, in August 2022. Nonetheless, the

 Court directs Defendants to provide updated information concerning blood work as set

 forth above.

 Follow-Up Injunctive Relief – Surgery

       The Court ordered Defendants to have Plaintiff class members whose hormone

 levels were within appropriate range and who had requested gender-affirming surgery

 to be evaluated for surgery by December 7, 2021, in chronological order of the inmate’s

 original surgery request. (Doc. 332, p. 2, para. 5). As of October 8, 2021, IDOC was

 working through prior requests. Twenty-six inmates had been discussed in three

 meetings; 10 more inmates had been approved to move forward. (Doc. 355, p. 3). As of

 December 8, 2021, Defendants reported:

                                        Page 77 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 78 of 87 Page ID #11590




        All surgical requests received to present have been considered by the
        Transgender Health and Wellness Committee (THAW). Letters providing
        the decision and explanation in the event of a denial have been sent to the
        individuals. They were also informed that they can request gender-
        affirming surgery again at the recommended interval. If any other
        recommendations were made, they were included in the same letter.

 (Doc. 369, p. 2, para. 5).

        Plaintiffs challenged Defendants’ October 2021 assertions regarding surgical

 evaluations, pointing out numerous inconsistencies and a lack of supporting

 documentation. (Doc. 359, pp. 7-8).

        Defendants shall provide an update on the status of those approved for surgery,

 including whether any preliminary treatment—such as hair removal—has occurred,

 whether any surgeries have occurred, and the plans for post-surgery facility placement

 and treatment. Defendants shall also provide a detailed explanation as to why individual

 requests for surgery were denied (between August 9, 2021, and today) and report when

 those individuals can request re-evaluation. These status updates are due within 30 days

 of the date of this Order.

 Follow-Up Injunctive Relief – Searches

        The Court ordered Defendants to allow Plaintiff class members to choose the

 gender of the officer who will search their person and to ensure that searches were

 conducted by an officer of the requested gender. (Doc. 332, p. 2, para. 6). Defendants

 report that body scanners will be deployed in five prisons (Doc. 369), but the Court is

 unsure whether this covers all class members. It is likewise not clear whether all cross-

 gender searches have ceased (discussed below).


                                       Page 78 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 79 of 87 Page ID #11591




        The Court orders Defendants to clarify these issues and to provide an update on

 steps taken to implement, inform, and train staff on policies to avoid cross-gender

 searches within 30 days of the date of this Order.

 Follow-Up Injunctive Relief – Transfers

        The Court ordered Defendants to evaluate Plaintiff class members who have

 requested transfer to a facility matching the inmate’s expressed gender for transfer by

 December 7, 2021, in chronological order of the inmate’s original transfer request.

 (Doc. 332, pp. 2-3, para. 7).

        Defendants reported that initial evaluations were in progress as of October 8, 2021

 (Doc. 355, p. 2). As of that date, five transgender females were at Logan (Doc. 359, p. 5),

 and three more were expected to be transferred by mid-October 2021. At that point,

 Defendants reported that the TAC had reviewed 16 class members who requested

 transfer. Defendants also reported that two additional transgender females had been

 interviewed and would proceed to the TAC for an official determination. Two more

 transgender inmates were to be interviewed soon for probable transfer, and

 approximately 12 class members were pending determination at the October TAC.

 Thirty-nine other class members had been approved to enter the PRISM program once it

 is finalized. (Doc. 355, p. 2).

        As of December 8, 2021, Defendants reported that the TAC:

        has considered all gender-affirming transfer requests made up until the
        present. Letters to requesting individuals explaining either the granting or
        denial of the transfer requests have been issued. Several class members
        have been transferred to facilities consistent with their gender.


                                       Page 79 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 80 of 87 Page ID #11592




 (Doc. 369, p. 2).

        On October 27, 2021, Plaintiffs responded to Defendants’ initial status report and

 challenged some of its assertions and pointed out numerous inconsistencies in the record.

 (Doc. 355).

        Defendants shall provide an update on the status of evaluations for transfer that

 have occurred since October 8, 2021 (as previously ordered), including detailed reasons

 for any denials, within 30 days of the date of this Order. Defendants also shall address

 the numerous inconsistencies identified by Plaintiffs in October 2021. (Doc. 359).

 Follow-Up Injunctive Relief – Commissary Items

        Defendants were ordered to make gender-affirming commissary items available

 to the Plaintiff class and to provide class members with a list of available items. The Court

 further ordered Defendants to provide a list of all items available at each facility by

 September 9, 2021. (Doc. 332, p. 3, para. 8). In that September 2021 report (Doc. 351),

 Defendants reported that not all items were available.

        Defendants shall provide the Court with an updated list of all commissary items

 available at each facility and an explanation of when any unavailable items will be

 stocked within 14 days from the date of this Order.

 Follow-Up Injunctive Relief – Medical and Mental Health Providers

        The Court ordered that Plaintiff class members should be treated only by medical

 and mental health providers who have taken WPATH training and are committed to

 continuing education on transgender health issues. The Court also ordered that providers

 whose beliefs prohibit their treatment of inmates with gender dysphoria shall have no

                                        Page 80 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 81 of 87 Page ID #11593




 contact with any Plaintiff class member. (Doc. 332, p. 3, para. 9).

          Defendants have not provided an update on compliance with this item. The Court

 orders Defendants to report whether changes have been made to ensure compliance with

 the relief ordered within 30 days of the date of this Order.

 Follow-Up Injunctive Relief – Showers

          The Court ordered that transgender inmates should have immediate access to a

 private shower. (Doc. 332, p. 3, para. 10). Plaintiffs’ counsel reported in October 2021

 (Doc. 359, p. 8) that Defendants had produced a photograph of a sheet that IDOC

 personnel had placed over the shower cell in Menard Correctional Center, where named

 Plaintiff Sora Kuykendall was housed. (Doc. 359-7). Plaintiffs asserted that the

 photograph makes clear that the sheet covering is see-through (indeed it is) and, as a

 result, Sora Kuykendall did not take a shower at any point between the time the

 Preliminary Injunction was entered on August 9, 2021, and her transfer to Logan in late

 October 2021. It appears other Plaintiff class members housed at Menard remain without

 access to a private shower. Thus, Defendants have not complied with the Court’s Order.

 Defendants shall inform the Court of measures taken at each prison housing transgender

 inmates to provide them access to a private shower within 14 days from the date of this

 Order.

          As for the other injunctive relief that was ordered to be completed by December 7,

 2021, some progress has been made, but there is more to be done.

 Follow-Up Injunctive Relief – Contract for Hair Removal Services

          Defendants were ordered to finalize the contract with Wexford to provide hair

                                         Page 81 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 82 of 87 Page ID #11594




 removal services to Plaintiff class members by December 7, 2021. (Doc. 332, p. 3, para. 1).

 Defendants reported on December 8, 2021 (Doc. 369) that an electrolysis machine was

 purchased for Logan for hair removal to be done onsite.

        This is certainly progress, but it is not clear whether treatment has begun. And

 what about Plaintiff class members who are not at Logan? Defendants shall provide an

 update on these matters within 30 days of the date of this Order.

        And, as set forth above, today the Court has ordered Defendants to ensure the

 availability of all medically necessary hair removal services, in addition to and including

 hair removal to prepare for gender-affirming surgery, within 30 days of this Order.

 Follow-Up Injunctive Relief – Contract with Dr. Schechter

        Defendants were ordered to finalize the contract with Dr. Schechter to provide

 gender-affirming surgery to Plaintiff class members who are approved for surgery.

 (Doc. 332, p. 3, para. 2). In a status report filed on December 8, 2021 (Doc. 369, p. 3,

 para. 2), Defendants clarified that no contract is necessary for Dr. Schechter to perform

 surgery for approved class members. Defendants further advised that approved

 surgeries will be paid for by IDOC or Medicaid. Defendants have contracted with

 Dr. Schechter, however, to provide expert surgical consulting to IDOC and its medical

 providers. Dr. Schechter is also providing in-person education to class members to

 discuss what gender-affirming surgery will involve.

        This appears to be full compliance and, unless anything has changed since

 Defendant’s status report, no update is needed on this item.




                                       Page 82 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 83 of 87 Page ID #11595




 Follow-Up Injunctive Relief – CQI Program for Transgender Care

       Defendants were ordered to finalize and implement the CQI (Continuing Quality

 Improvement) program for transgender care by December 7, 2021. (Doc. 332, p. 4,

 para. 3). Defendants reported on December 8, 2021 (Doc. 369, p. 3, para. 3) that the CQI

 tool is complete, and implementation of the tool is underway.

       Defendants shall provide an update on the progress made since December 2021

 within 30 days of the date of this Order.

 Follow-Up Injunctive Relief – Written Surgical Standards for Transgender Care

       Defendants were ordered to finalize IDOC’s written surgical standards for

 transgender care by December 7, 2021 (Doc. 332, p. 4, para. 4) Defendants reported on

 December 8, 2021 (Doc. 369, p. 3, para. 4) that the guidelines (Doc. 369-5) are complete.

 This appears to be full compliance.

 Follow-Up Injunctive Relief – PRISM Project

       Defendants were ordered to finalize and implement the PRISM project (the special

 population program discussed in the summary of Dr. Reister’s testimony above).

 (Doc. 332, p. 4, para. 5). On December 8, 2021 (Doc. 369, pp. 3-4, para. 5), Defendants

 reported that the program (Doc. 369-6) has been finalized and will be located in Centralia

 Correctional Center. Staff members have been trained on transgender issues as part of

 the PRISM project. Defendants further reported that prisoners who are part of the PRISM

 project but who do not identify as transgender also will be trained on transgender issues.

       Eighteen inmates had been transferred to the program as of December 8, 2021, and

 other inmates had been approved to transfer to the program after the initial group. The

                                       Page 83 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 84 of 87 Page ID #11596




 Court understands that completion of the project is planned in phases to allow for

 additional staff training. Ultimately, PRISM will house up to 100 inmates in four

 dedicated housing units at Centralia.

          This appears to be full compliance. Nonetheless, the Court orders Defendants to

 provide an additional update on the PRISM project within 30 days of the date of this

 Order.

 Follow-Up Injunctive Relief – Training for Correctional Staff

          Defendants were ordered to finalize and implement additional and ongoing

 training for all correctional staff on transgender issues and awareness, including the harm

 caused by misgendering and harassment by December 7, 2021. (Doc. 332, p. 4, para. 6).

 On December 8, 2021 (Doc. 369, p. 4, para. 6), Defendants reported they had contracted

 with an outside group, Queer Works, 25 to train all IDOC staff by March 30, 2022. A link

 to the training was sent to all IDOC employees. (Doc. 369-7). In addition, Defendants

 contracted with Moss Group to do future trainings directed to transgender issues at

 Logan, as well as men’s facilities.

          This is progress. Defendants shall provide an update to the Court on the status of

 training actually completed (and scheduled to be completed this year) within 30 days of

 the date of this Order.




 25
   Queer Works is a 501(c)(3) organization with headquarters in the Coachella Valley. Its mission
 is to ameliorate disparities faced by transgender, gender non-binary and intersex people as well
 as help reduce similar disparities among our lesbian, gay and bisexual communities.
 https://www.queerworks.org/ (last accessed Feb. 3, 2022).
                                         Page 84 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 85 of 87 Page ID #11597




 Follow-Up Injunctive Relief – Training for Inmates and Staff at Logan Correctional
 Center

        Defendants were ordered to finalize and implement training for inmates and staff

 at Logan regarding incoming/transferred transgender inmates by December 7, 2021

 (Doc. 332, p. 4, para. 7). Defendants reported on December 8, 2021 (Doc. 369. p. 4, para. 7),

 that its contract with Queer Works—discussed above with respect to employee training—

 also will provide training to Logan inmates to educate on the harms caused by

 misgendering and harassment. This training is available on the inmate channel at Logan.

 And, similar to the training for all correctional staff discussed above, the Moss Group will

 conduct future training for Logan employees.

        Defendants also reported that Logan staff have taken further steps to welcome

 class members transferred for gender-affirming social transition, including:

        a. The Mental Health Administrator (MHA) meets with each individual to
           review the gender identity form and to provide orientation and
           disclosure regarding support services;

        b. The MHA provides information as to gender-affirming surgery either
           during intake or after new identification of transgender individuals;

        c. The MHA screens housing unit peers to create a LGBTQIA+-friendly
           environment with individuals who have no disciplinary issues and can
           provide guidance on success at Logan;

        d. The mental health staff participate in statewide case conference calls
           with other institutions regarding the care and concerns of transgender
           prisoners;

        e. Two primary Mental Health Practitioners oversee the transgender
           specialized caseload;

        f. Staff participate in weekly multidisciplinary meetings to coordinate
           transgender care;

                                        Page 85 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 86 of 87 Page ID #11598




        g. The MHA reviews all incident reports pertaining to individuals
           identified as transgender to determine needs for additional services,
           placement recommendations, or referral to the TAC or THAWC;

        h. Celebration of PRIDE month included [sic] round table meetings with
           allies and/or self-identified LGTBQIA+ individuals;

        i. Celebration of transgender awareness week;

        j. Preferred names are included in communications and updates to
           administration;

        k. The Warden and MHA review requests to ensure equivalent access to
           services are provided to transgender and cisgender women; and

        l. And there is more, including a training for crisis team members specific
           to transgender individuals.

 (Doc. 369, pp. 4-5, para. 7).

        This is yet another sign of progress. Defendants shall report on the status of

 training actually completed (and scheduled to be completed this year) within 30 days of

 the date of this Order.

 Follow-Up Injunctive Relief – Transgender Identification Policy

        Defendants were ordered to finalize and implement IDOC’s transgender

 identification policy by December 7, 2021 (Doc. 332, p. 4, para. 8). On December 8, 2021

 (Doc. 369, pp. 5-6, para. 8), Defendants reported that this item has been finalized and

 implemented. Specifically, Defendants developed a form for gender identification change

 (“DOC 0655-Gender Identification Change: Mental Health Authority to B of I”).

 (Doc. 369-9). The Mental Health Authority completes this form and forwards it to the

 Bureau of Identification, which changes the prisoner identification card and gender in


                                      Page 86 of 87
Case 3:18-cv-00156-NJR Document 383 Filed 02/07/22 Page 87 of 87 Page ID #11599




 Offender 360, the IDOC prisoner tracker. This should result in clarity as to the inmate’s

 choice of gender of the officer who will conduct a search of the inmate’s person. This

 process then triggers a commissary prompt to allow transgender commissary access.

 Forms had already been submitted on behalf of all transgender inmates.

        Defendants shall update the Court within 30 days of the date of this Order on

 whether this policy has eliminated cross-gender body searches.

        The status reports ordered above from Defendants shall be filed under seal to the

 extent they contain individuals’ names or private health information or reveal other

 confidential information about an individual, such as the person’s transgender status.

        Finally, the Court invites Defendants to advise the Court whether the contract with

 Dr. Anderson was renewed (and whether any other changes have occurred with respect

 to transgender issues since trial). The Court FURTHER ORDERS Defendants to work

 with the Monitor (once appointed) to develop and implement new Administrative

 Directives that cure the deficiencies outlined above and to ensure the comprehensive

 training is provided to all staff tasked with responsibility of implementing those

 directives. Pursuant to MillerCoors LLC v. Anheuser-Busch Companies, LLC, 940 F.3d 922

 (7th Cir. 2019), the Court will enter the terms of the preliminary injunctive relief set forth

 above in a separate document.

        IT IS SO ORDERED.

        DATED: February 7, 2022

                                                   ____________________________
                                                   NANCY J. ROSENSTENGEL
                                                   Chief U.S. District Judge

                                         Page 87 of 87
